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                           IN THE I-INITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (sourHERN DIVISION)


SHAWN LUGER,                                          Case No
5405 Tuckennan Lane, Apt. 514
North Bethesda, MD 20852
Derivatively on Behalf of FARMLAND                    VERIFIED STOCKHOLDER DERIVATIVE
PARTNERS INC.,                                        COMPLAINT FOR VIOLATION OF
                                                      SECURITIES LAW, BREACH OF DUTY,
                         Plaintiff,                   WASTE OF CORPORATE ASSETS, AND
                                                      UNJUST ENRICHMENT
          v

PAUL A. PITTMAN                                       DEMAND FOR JURY TRIAL
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
1519 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess
pursuant to Section 6-102.1of the Cts. & Jud.
Proc. Article.),

LUCA FABBRI
II42l Marks Drive
Conifer, CO 80433,

CHRIS A. DOWNEY
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
1519 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess
pursuant to Section 6-102.I of the Cts. & Jud.
Proc. Article.),

JAY B. BARTELS
Farmland Partners Inc.


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4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
1519 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess
pursuant to Section 6-102.1of the Cts. & Jud.
Proc. Article.),

JOSEPH W. GLAUBER
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global lnc.
1519 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess
pursuant to Section 6-102.1of the Cts. & Jud.
Proc. Article.),

JOHN A. GOOD
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
1519 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess
pursuant to Section 6-102Jof the Cts. & Jud.
Proc. Article.),

ROBERT L. COWAN
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
1519 York Road
Lutherville, MD 21093



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(Resident agent of Farmland Partners Inc., who )
is appointed agent to receive service ofprocess
pursuant to Section 6-102.1of the Cts. & Jud.
Proc. Article.),

DARELL D. SARFF
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
1519 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess
pursuant to Section 6-102.1of the Cts. & Jud.
Proc. Article.),

JOHN C. CONRAD
23561N. Sanctuary Club Drive
Kildeer, IL 60047,

THOMAS S.T. GIMBEL
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
1519 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess
pursuant to Section 6-102.1of the Cts. & Jud.
Proc. Article.),

D. DIXON BOARDMAN
Farmland Partners Inc.
4600 South Syracuse Street, Suite 1450
Denver, CO 80237,
SERVE ON:
Cogency Global Inc.
l5l9 York Road
Lutherville, MD 21093
(Resident agent of Farmland Partners Inc., who
is appointed agent to receive service ofprocess



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pursuant to Section 6-102.1of the Cts. & Jud. )
Proc. Article.),                              )
                                              )
                      Defendants,             )
                                              )
       -and-                                  )
                                              )
FARMLAND PARTNERS INC.,                       )
a Maryland Corporation,                       )
4600 South Syracuse Street, Suite 1450        )
Denver, CO 80237,                             )
SERVE ON RESIDENT AGENT:                      )
Cogency Global   lnc.                         )
1519 York Road                                )
Lutherville,MD    21093                       )
                                              )
                      Nominal Defendant.      )


         Plaintiff Shawn Luger ("Plaintiff'), by his attorneys, submits this Verified Stockholder

Derivative Complaint for Violation of Securities Law, Breach of Duty, Waste of Corporate Assets,

and Unjust Enrichment.       Plaintiff alleges the following on information and belief, except   as   to the

allegations specifically pertaining to Plaintiff, which are based on personal knowledge. This

complaint is also based on the investigation of Plaintiffs counsel, which included, among other

things, a review of public filings with the U.S. Securities and Exchange Commission ("SEC") and

a   review of news reports, press releases, and other publicly available sources.

                           NATURE AND SUMMARY OF THE ACTION

          l.       This is a stockholder derivative action brought by Plaintiff on behalf of nominal

defendant Farmland Partners Inc. ("Farmland Partners," "FPI," or the "Company") against certain

of its current and former officers and directors for violation of securities law, breach of duty, waste

of corporate     assets, unjust enrichment, and violations   of law. These wrongs resulted in hundreds

of millions of dollars in damages to Farmland Partners'reputation, goodwill, and standing in the




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business community. Moreover, these actions have exposed Farmland Partners to hundreds             of

millions of dollars in potential liability for violations of state and federal law.

         2.       Farmland Partners is a Real Estate Investment Trust ("REIT") that owns, acquires,

and finances farmland in North America. With a portfolio consisting of approximately 166,000

acres spanning across seventeen states, according to its filings with the SEC, the Company is the

largest public farmland REIT in the country.

         3.       While the Company's principal business is renting out farmland to farmers, in 2015,

Farmland Partners expanded its business with the inception of a loan program (the "FPI Loan

Program"). The FPI Loan Program's stated purpose was to grant loans to "third-party farmers."

Instead, certain of the Individual Defendants (as defined herein) misused the FPI Loan Program to

grant a series of undisclosed loans to relatedparties. In fact, thebeneficiaries of at least 70o/oof

the total money loaned through the FPI Loan Program were individuals with intimate ties to

Farmland Partners, including Jesse J. Hough ("Hough") and Ryan B. Niebur ("Niebur"). Hough

was Farmland Partners' cofounder, an integral Company consultant, and the longtime business

associate     of Farmland Partners' Chief Executive Officer ("CEO"), defendant Paul A. Pittman

("Pittman"). Niebur was a part of the Company's small-size management and a longtime coworker

of defendant Pittman and Farmland Partners' Chief Financial Officer ("CFO"), defendant Luca

Fabbri ("Fabbri").

         4.       Related-party transactions are inherently riskier because, unlike transactions with

third parties, they are oftentimes not negotiated at arm's-length. Accordingly, U.S. Generally

Accepted Accounting Principles ("GAAP") requires companies to disclose the details of related-

party transactions. As could be expected, the risks associated with the Company's related-party




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loans materializedto Farmland Partners'detriment, as several ofthe loans were eitherrenegotiated,

wrapped into new loans, or the borrower (in Niebur's case) went bankrupt.

         5.       Instead of informing the public about the details of the related-party loans, between

November 12,2015 and July 10,2018, the Individual Defendants disseminated a series of false

and misleading statements concerning the FPI Loan Program in the Company's public          filings with

the SEC. Specifically, the Individual Defendants repeatedly claimed Farmland Partners granted

loans   to "third-party farmers." The Individual Defendants also routinely emphasized the due

diligence conducted in connection with the FPI Loan Program, representing that loans would be

granted based on a borrower's ability to      pay. In reality, the primary criteria was whether the

individual was a friend or business associate, regardless of the related-party's financial status or

ability to satisfy their obligations to the Company. In addition, defendants caused or allowed the

Company to misrepresent its compliance with GAAP and the effectiveness of its internal controls.

         6.       On January 26,2018, after receiving millions of dollars in loans from the Company,

Niebur filed for Chapter 12 bankruptcy. Niebur's bankruptcy petition lists Farmland Partners as a

creditor, highlighting the risks to which the Individual Defendants had recklessly exposed the

Company.

         7.       Then, on July   ll,20I8,the truth   about Farmland Partners'years-long loan practice

finally emerged, as Seeking Alpha published a report conducted by investment analyst Rota

Fortunae (the "Rota Fortunae Report").I Rota Fortunae's well-documented report is replete with

evidence detailing the true nature of the FPI Loan Program, explaining that most of the loans were



I "Rota Fortunae" which translates to "Wheel of Fortune," is the pseudonym of an investment
analyst who, according to Seeking Alpha, "[h]ighlights risks in capital markets by reporting in
depth research." Rota Fortunae specializes in forensic accounting and investigative research. His
or her true identity remains unknown.


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issued to at least two related parties, Niebur and      Hough. The Rota Fortunae Report also exposes

the risks associated with the Company's related-party loans by furnishing evidence of the loans

being defaulted, renegotiated, and wrapped into new loans. Further, the report divulges Niebur's

bankruptcy.

         8.         In the wake of the Rota Fortunae Report's publication, Farmland Partners'common

stock and preferred stock plunged more than38%o and26Yo, respectively, erasing over     $   I   l0 million

and $38       million, respectively, in market capitalization in   a single day.


         9.         On July 17,2018, Farmland Partners attempted to control the damage resulting

from the Rota Fortunae Report by issuing a press release purporting to rebut its claims. In the

press release, the Individual Defendants falsely assert that neither Niebur nor Hough is a related

party. The Individual Defendants further claim that they believe the loans to Niebur-who had

filed for bankruptcy-are "good loans and will perform well for the Company." Less than two

months earlier however, on May 24, 2018, affiliates of Farmland Partners filed an objection to

Niebur's proposed bankruptcy reorganization (pursuant to which one of his leases with the

Company would be assigned to an entity controlled by Niebur) based on Farmland Partners'

assertion that Niebur failed to demonstrate his ability to satisfy the payments.

          10.       On July 23,2018, Farmland Partners funher reacted to the Rota Fortunae Report

by suing Rota Fortunae (whose true name is unknown) for defamation, disparagement,                    and

intentional interference with prospective business relations, among other claims (the "Defamation

Lawsuit").

          1   1.    The Individual Defendants' unsuccessful efforts to discredit the report are only

increasing the costs borne by the Company as a result of defendants' wrongdoing. Farmland

Partners'Annual Report on Form l0-K, for the year ended December 3I,2018, filed with the SEC



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on March 15,2019, discloses legal and accounting expenses of $2.33 million, representing over a

600/o increase   from the previous year. Farmland Partners explained that these increased expenses

were "primarily attributable to increased costs related to litigation for the Rota Fortunae matter."

          12.     Further, as a direct result of this unlawful course of conduct, Farmland Partners is

now the subject of a federal securities class action lawsuit filed in the U.S. District Court for the

District of Colorado2 on behalf of investors who purchased Farmland Partners' shares (the

"Securities Class Action"). The Securities Class Action asserts claims against the Company and

defendants Pittman and Fabbri          in connection with Farmland Partners'     improper statements

concerning related-party transactions and the FPI Loan Program, including causes of action under

sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the "Exchange Act").

         13.      On June 18,2019,Judge David M. Ebel ("Judge Ebel") denied the Securities Class

Action defendants'motion to dismiss the Securities Class Action. ln denying these defendants'

motion, Judge Ebel found that the plaintiffs adequately alleged-under the heightened pleading

requirements of Rule 9(b) of the Federal Rules of Civil Procedure and the Private Securities

Litigation Reform Act ("PSLRA")-that the defendants made false and misleading statements and

omissions concerning related-party loans and due diligence for the FPI Loan Program establishing

a "strong inference   of scienter." Judge Ebel further rejected the Securities Class Action defendants'

argument that these misstatements were not material, noting that "[a] reasonable shareholder

would undoubtedly consider       it   important to know whether Farmland had created a sham loan

program to help the directors' friends or created a legitimate new source of revenue." The




2
 The Turner Insurance Agency, Inc., et al. v. Farmland Partners Inc. et al. (Civil Action No. 18-
cv-02104) (D. Colo.)


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Securities Class Action will now engage in discovery, significantly increasing damage to Farmland

Partners.

          14.      The Company has also been harmed as a result of the Director Defendants' (as

defined herein) actions        in   causing the Company to repurchase over $16.5 million worth of

Farmland Partners stock at artificially inflated prices while concealing the Company's risky

related-party loans and misrepresenting Farmland Partners' financial results and future prospects.

          15.      On April 25,2019, Plaintiffs counsel sent a litigation demand (the "Demand") to

Farmland Partners' Board of Directors (the "Board") demanding that the Board investigate the

foregoing facts and claims, and to address, remedy, and commence proceedings against the

corporate fiduciaries responsible for damaging the Company. On August                  l,   2019, Plaintiff

received a letter informing him that the Board had rejected the Demand. The Board's rejection

letter demonstrates an utter lack of good faith and a complete failure to conduct an investigation,

let alone any reasonable investigation, into the allegations contained in Plaintiffs Demand.

Further, even      if   the required reasonable investigation had been undertaken, the Board lacked

independence in deciding to reject Plaintiffs Demand insofar as          it was made without isolating

conflicted members of the Board. This decision was further tainted by the guidance of conflicted

counsel who could not, and did not, objectively evaluate the Demand's allegations. Because the

Board failed to act in good faith and with due care (on the basis of a reasonable investigation), its

decision to refuse Plaintiffs Demand was wrongful and is not protected by the business judgment

rule.

          16.      In light of the Board's refusal to act, Plaintiff brings this action to remedy the harm

caused by defendants' wrongful actions.




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                                  JURISDICTION AND VENUE

         17.      Pursuantto 28 U.S.C. $1331 and section 27 of the ExchangeAct, this Courthas

jurisdiction over the claims asserted herein for violations of section 10(b) of the Exchange Act and

SEC Rule 10b-5 promulgated thereunder. This Court has supplemental jurisdiction over the

remaining claims under 28 U.S.C. $1367.

         18.      This Court has jurisdiction over each defendant named herein because           each


defendant is either a corporation that conducts business in and maintains operations in this District,

or is an individual who has sufficient minimum contacts with this District to render the exercise

of jurisdiction by the district courts permissible under haditional notions of fair play          and

substantial    justice. ln addition, pursuant to $$ 6-102.1 of the Courts and Judicial Proceedings

Article of the Maryland Code Annotated, this Court has jurisdiction over the Director Defendants

who served as directors of Farmland Partners on or after October 1,2017, and who are deemed to

have consented to the appointment of the resident agent of Farmland Partners as an agent on which

service of process may be made in any civil action brought in this State against those Director

Defendants for an "internal corporate claim" as defined       in $ 1-101 of the Corporations      and

Associations Article.

          19.     Venue is proper in this Court in accordance with 28 U.S.C. $1391 because: (i) one

or more of the defendants either resides in, maintains executive offices in, or is incorporated in

this District;    (ii) a substantial portion of the transactions and wrongs complained of herein,
including the defendants' primary participation in the wrongful acts detailed herein, and aiding and

abetting and conspiracy in violation of their duties owed to Farmland Partners, occurred in this

District; andlor (iii) defendants have received substantial compensation in this District by doing

business here and engaging in numerous activities that had an effect in this District.




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         20.         Further, pursuant   to the Company's Second Amended and      Restated Bylaws

effective November 8,2017, the exclusive forum for any derivative action or proceeding brought

on behalf of the Company is the Circuit Court for Baltimore City, Maryland, or,   if that Court does

not have jurisdiction, the United States District Court for the District of Maryland, Baltimore

Division.

                                             THE PARTIES

Plaintiff

         21.         Plaintiff has continuously been a Farmland Partners stockholder since November

20t6.

Nominal Defendant

         22.         Nominal Defendant Farmland Partners is a Maryland corporation with principal

executive offices located at4600 South Syracuse Street, Suite 1450, Denver, Colorado. Farmland

Partners is a REIT that manages a portfolio of farmland and land with agricultural development

potential spanning approximately 162,000 acres across seventeen states. Substantially all of the

Company's assets and operations are held by and conducted through its consolidated subsidiaries,

including Farmland Partners Operating Partnership, L.P. (the "Operating Partnership"). Farmland

Partners is the sole member of the Operating Partnership's general partner, and owned 93.2o/o     of

the Operating Partnership's outstanding common units as of March 15,2019. As of March 8,2019,

Farmland Partners had thirteen employees.

Defendants

             23.     Defendant Pittman is Farmland Partners' President and has been since May 2018,

and CEO and has been since        Apnl2014. Defendant Pittman is also a Farmland Partners'director

and has been since        Apirl2014. Defendant Pittman was also Farmland Partners' President from



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Apil2014 to February 2011. Defendant Pittman is named              as a defendant   in the Securities Class

Action complaint that alleges he violated sections 10(b) and 20(a) of the Exchange Act. Defendant

Pittman knowingly, recklessly, or with gross negligence approved Farmland Partners'related-party

loans. Defendant Pittman also knowingly, recklessly, or with gross negligence made improper

statements      in Farmland Partners'press releases and public filings concerning the Company's: (i)

FPI Loan Program; (ii) related-party transactions; (iii) compliance with GAAP; and (iv)

effectiveness of its internal controls. Defendant Pittman breached the duties he owed to the

Company and violated section l0(b) of the Exchange Act and SEC Rule 10b-5 promulgated

thereunder by causing Farmland Partners to repurchase its stock on the open market at prices he

knew were artificially inflated by his misleading statements and omissions. Farmland Partners

paid defendant Pittman the following compensation as an executive:

                                                          Stock       All Other
                Year     Salary         Bonus            Awards     Gompensation         Total
                2018    $477,000                     $599,997          $23,468        $1,100,465
                2017    $477,000                     $648,8s2          $62,694        $1 ,188,546
                2016    $477,000       $500.000      $648,852          $50,3s7        $1.676.209
                2015    $432.083       $300.000      $650,000          $42.755        $1.424.838


          24.      Defendant Fabbri is Farmland Partners' CFO and Treasurer and has been since

Apil2014.         Defendant Fabbri was also Farmland Partners' Secretary from April 2014 to at least

November         2016. Defendant Fabbri is named as a defendant in the Securities Class Action

complaint that alleges he violated sections 10(b) and 20(a) of the Exchange Act. Defendant Fabbri

knowingly, recklessly, or with gross negligence approved Farmland Partners'related-party loans.

Defendant Fabbri also knowingly, recklessly, or with gross negligence made improper statements

in Farmland Partners'press         releases and public   filings concerning the Company's: (i) FPI Loan

Program; (ii) related-party transactions; (iii) compliance with GAAP; and (iv) effectiveness of its

internal controls. Defendant Fabbri breached the duties he owed to the Company and violated


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section lO(b) of the Exchange Act and SEC Rule 10b-5 promulgated thereunder by causing

Farmland Partners to repurchase its stock on the open market at prices he knew were artificially

inflated byhis misleading statements and omissions. Farmland Partners paid defendant Fabbri the

following compensation as an executive:

                                                         Stock         AllOther
               Year      Salary          Bonus          Awards      Gompensation    Total
               2018     $275,000        $122.472        $249,999        $5.713     $653,1 84
               2017     $275,000                        $149,733        $14,616    $439,349
               2016     $275,000        $250,000        $149,733        $20.678    $695,411
               2015     $251.667        $100,000        $260,000        $17.946    $629,613


         25.        Defendant Chris A. Downey ("Downey") is Farmland Partners'Lead Independent

Director and has been since at least Apnl 2016, and a director and has been since April 2014.

Defendant Downey is also the Chairman of Farmland Partners' Audit Committee and has been

since at least March 2015. Defendant Downey knowingly or recklessly approved Farmland

Partners' related-party loans. Defendant Downey also knowingly or recklessly made improper

statements     in Farmland Partners' press releases and public filings concerning the Company's: (i)

FPI Loan Program; (ii) related-party transactions; (iii) compliance with GAAP; and (iv)

effectiveness of its internal controls. Defendant Downey breached the duties he owed to the

Company and violated section 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated

thereunder by causing Farmland Partners to repurchase its stock on the open market at prices he

knew were artificially inflated by his misleading statements and omissions. Farmland Partners

paid defendant Downey the following compensation as a director:

               Fiscal                                                All Other
               Year      Fees Paid in Cash         Stock Awards    Compensation     Total
                2018          $54,000                                  $71 0       $54,710
               2017           $41,250                $46.765          $2,045       $90,060
               2016           $57,500                                  $B2o        $58.320
               2015           $50,s00                                 $1,292       $51.792




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         26.        Defendant Jay B. Bartels ("Bartels") is a Farmland Partners director and has been

since   April 2014. Defendant Bartels is also amember of Farmland Partners'Audit Committee         and


has been since at least March 2015. Defendant Bartels      knowingly or recklessly approved Farmland

Partners' related-party     loans. Defendant Bartels also knowingly or recklessly made improper

statements     in Farmland Partners'press releases and public filings concerning the Company's: (i)

FPI Loan Program; (ii) related-party transactions; (iii) compliance with GAAP; and (iv)

effectiveness of its internal controls. Defendant Bartels breached the duties he owed to the

Company and violated section 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated

thereunder by causing Farmland Partners to repurchase its stock on the open market at prices he

knew were artificially inflated by his misleading statements and omissions. Farmland Partners

paid defendant Bartels the following compensation as a director:

               Fiscal                                            All Other
               Year      Fees Paid in Gash    Stock Awards     Compensation          Total
                2018          $41,000                              $71 0            $41.710
               2017           $31,750            $46,756           $2,045           $80,551
               2016           $44,500                               $820            $45,320
               2015           $44,000                              $1,292           $45.292

         27.        Defendant Joseph W. Glauber ("Glauber") is a Farmland Partners director and has

been since February 2015. Defendant Glauber is also a member of Farmland Partners' Audit

Committee and has been since at least April 2016. Defendant Glauber knowingly or recklessly

approved Farmland Partners'related-party loans. Defendant Glauber also knowingly or recklessly

made improper statements in Farmland Partners' press releases and public filings concerning the

Company's: (i) FPI Loan Program; (ii) related-party transactions;          (iii) compliance with GAAP;

and   (iv) effectiveness of its internal controls. Defendant Glauber breached the duties he owed to

the Company and violated section 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated

thereunder by causing Farmland Partners to repurchase its stock on the open market at prices he

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knew were artificially inflated by his misleading statements and omissions. Farmland Partners

paid defendant Glauber the following compensation as a director:


          Fiscal                                             All Other
          Year       Fees Paid in Gash    Stock Awards     Gompensation          Total
          2018             $39.750                              s71 0          $40.460
           2017            $30.000           $46,765           $2,045          $78,810
           2016            $40.000                             $1.229          $41.229
           2015            $39,250           $35,836           $1 ,1 92        $76.278

       28.     Defendant John A. Good ("Good") is a Farmland Partners director and has been

since January 2018. Defendant Good knowingly or recklessly approved Farmland Partners'

related-party loans. Defendant Good also knowingly or recklessly made improper statements in

the Company's press releases and public filings concerning the Company's: (i) FPI Loan Program;

(ii) related-party transactions; (iii) compliance with GAAP; and (iv) effectiveness of its internal

controls. Defendant Good breached the duties he owed to the Company and violated section 10(b)

of the Exchange Act and SEC Rule 10b-5 promulgated thereunder by causing Farmland Partners

to repurchase its stock on the open market at prices he knew were artificially inflated by his

misleading statements and omissions. Farmland Partners paid defendant Good the following

compensation as a director:

          Fiscal                                             All Other
          Year       Fees Paid in Gash    Stock Awards     Compensation         Total
          2018             $29,000           $20,832            $637           $50,469

       29.     Defendant Robert L. Cowan ("Cowan") was Farmland Partners' President from

February 2017 to May 2018. Defendant Cowan knowingly or recklessly approved Farmland

Partners' related-party   loans. Defendant Cowan also knowingly, recklessly, or with gross

negligence, made improper statements in Farmland Partners' press releases and public filings

concerning the Company's: (i) FPI Loan Program; (ii) related-party hansactions;   (iii) compliance

with GAAP; and (iv) effectiveness of its internal controls. Defendant Cowan breached the duties

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he owed to the Company and violated section 10(b) of the Exchange Act and SEC Rule 10b-5

promulgated thereunder by causing Farmland Partners to repurchase its stock on the open market

at prices he knew were         artificially inflated by his misleading statements and omissions. Farmland

Partners paid defendant Cowan the following compensation as an executive:

                                                                All Other
                        Year        Salary       Bonus        Gompensation       Total
                        2017       $300,000     $16s.000        $33,523        $498,523

         30.       Defendant Darell D. Sarff ("Sarff') was a Farmland Partners director from April

2014 to January         2018. Defendant Sarff knowingly or recklessly approved Farmland            Partners'

related-party loans. Defendant Sarff also knowingly or recklessly made improper statements in

Farmland Partners' press releases and public filings concerning the Company's:                (i) FPI Loan

Program; (ii) related-party transactions; (iii) compliance with GAAP; and (iv) effectiveness of its

internal controls. Defendant Sarff breached the duties he owed to the Company and violated

section l0(b) of the Exchange Act and SEC Rule 10b-5 promulgated thereunder by causing

Farmland Partners to repurchase its stock on the open market at prices he knew were artificially

inflated by his misleading statements and omissions. Farmland Partners paid defendant Sarff the

following compensation as a director:

               Fiscal                                               All Other
               Year        Fees Paid in Gash     Stock Awards     Compensation            Total
                2018             $10,500                               $532              $11.032
               2017              $33,250            $46.765           $2,045             $82,060
               2016              $44.250                               $820              $45,070
               2015              $40,500                              $1,292             $41.792


         31.        Defendant John C. Conrad ("Conrad") was a Farmland Partners director from

March 2016 to August 2017. Defendant Conrad knowingly or recklessly approved Farmland

Partners' related-party loans. Defendant Conrad also knowingly or recklessly made improper

statements      in Farmland Partners'press releases and public filings concerning the Company's: (i)


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FPI Loan Program; (ii) related-party transactions; (iii) compliance with GAAP; and (iv)

effectiveness of its internal controls. Defendant Conrad breached the duties he owed to the

Company and violated section 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated

thereunder by causing Farmland Partners to repurchase its stock on the open market at prices he

knew were artificially inflated by his misleading statements and omissions. Farmland Partners

paid defendant Conrad the following compensation as a director:

             Fiscal                                          All Other
             Year      Fees Paid in Cash   Stock Awards    Compensation         Total
             2017           $27.000           $30,88e          $1.073          $58,962
             2016           $28.500           $1 1,963          $273           $40,736


       32.        Defendant Thomas S.T. Gimbel ("Gimbel") was a Farmland Partners director from

February 2017 to May 2018. Defendant Gimbel knowingly or recklessly approved Farmland

Partners' related-party loans. Defendant Gimbel also knowingly or recklessly made improper

statements    in Farmland Partners'press releases and public filings concerning the Company's: (i)

FPI Loan Program; (ii) related-party transactions; (iii) compliance with GAAP; and (iv)

effectiveness of its intemal controls. Defendant Gimbel breached the duties he owed to the

Company and violated section 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated

thereunder by causing Farmland Partners to repurchase its stock on the open market at prices he

knew were artificially inflated by his misleading statements and omissions. Farmland Partners

paid defendant Gimbel the following compensation as a director:

             Fiscal                                          All Other
             Year      Fees Paid in Cash   Stock Awards    Compensation         Total
              2018          $25.500                             $356           $25,856
             2017           $27.000           $15,024           $3s6           $42,380


       33.        Defendant D. Dixon Boardman ("Boardman") was a Farmland Partners director

from February 2017 to December 2017. Defendant Boardman knowingly or recklessly approved

Farmland Partners'related-party loans. Defendant Boardman also knowingly or recklessly made

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improper statements Farmland Partners' press releases and public filings concerning the

Company's: (i) FPI Loan Program; (ii) related-party transactions;          (iii) compliance with GAAP;

and (iv) effectiveness of its internal controls. Defendant Boardman breached the duties he owed

to the Company and violated section 10(b) of the Exchange Act and SEC Rule l0b-5 promulgated

thereunder by causing Farmland Partners to repurchase its stock on the open market at prices he

knew were artificially inflated by his misleading statements and omissions. Farmland Partners

paid defendant Boardman the following compensation as a director:

               Fiscal                                                AllOther
               Year      Fees Paid in Gash    Stock Awards        Gompensation         Total
               2017           $27,000            $15,024             $3s6             $42,380


         34.       The defendants identified in W3-24, 29 are referred to herein as the "Officer

Defendants." The defendants identified         in n123,       25-28, 30-33 are referred to herein as the

"Director Defendants." The defendants identified          inlp5-27    are referred to herein as the "Audit

Committee Defendants." Collectively, the defendants identified in ![']123-33 are referred to herein

as   the "Individual Defendants."

                           DUTIES OF THE INDIVIDUAL DEFENDANTS

Duties of the Officer Defendants and Director Defendants

         35.        By reason of their positions as officers and directors of the Company, each of the

Individual Defendants owed and owe Farmland Partners certain duties and obligations.

          36.       The Officer Defendants stood and stand in a fiduciaryrelationship to the Company

bearing the same duties and obligations to the Company as an agent bears to his or her principal.

In performing their responsibilities as officers of Farmland Partners, the Officer Defendants were

and are required to exercise reasonable care and         skill.   The Officer Defendants owed Farmland

Partners undivided and unselfish loyalty; they were and are required to act in furtherance of the

best interests of Farmland Partners and not     in furtherance of their personal interest or benefit. In

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addition to these duties of care and loyalty, the Officer Defendants also owed the Company duties

of good faith and candid disclosure. By virtue of such duties, the officers of Farmland Partners

were required to, among other things:

                   (a)    place the interests of the Company above their own;

                   (b)    refrain from competing with the Company;

                   (c)    disclose all material information; and

                   (d)    truthfully and accurately guide investors and analysts as to the business

operations of the Company at any given time.

         37.       The Director Defendants were under a duty to exercise the standard of care for

directors set forth in the Maryland General Corporation Law ("MGCL"). Under MGCL $ 2-405.1,

the Director Defendants are and were required         to act in good faith, in a manner the director

reasonably believes to be in the best interests of the Company, and with the care that an ordinarily

prudent person in a like position would use under similar circumstances.

Farmland Partners' Code of Business Conduct and Ethics and Code of Ethics for CEO and
Senior Financial Officers

         38.       In addition, the Company has adopted a Code of Business Conduct and Ethics (the

"Code") that applies to all employees, including officers and members of the Board. The Code

states that    it "is designed to promote," among other things, "honest   and ethical conduct, including

the ethical handling of actual or apparent conflicts of interest between personal and professional

relationships." As to these conflicts of interest, the Code states:

         Conflicts of Interest

         A conflict of interest  arises any time the personal interests of Company Personnel
         interfere with his, her or their ability to act in the best interests of the Company. All
         Company Personnel must discharge their responsibilities on the basis of what is in
         the best interest of the Company independent of personal considerations or
         relationships.



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         Company Personnel must disclose any potential conflicts of interest to the Chief
         Financial Officer or such officer's designees, who can advise the employee as to
         whether or not the Company believes a conflict of interest exists. Conflicts of
         interest may not always be clearcut, so Company Personnel are encouraged to bring
         questions about particular situations to the Chief Financial Officer or such officer's
         designees. Company Personnel should also disclose potential conflicts of interest
         involving the employee's spouse, siblings, parents, in-laws, children, life partner
         and members of the employee's household.

         Conflicts of interest involving any member of the Board of Directors shall be
         addressed (i) bV the Board of Directors or applicable committee thereof in
         accordance with policies and procedures followed by the Board of Directors from
         time to time, and (ii) in a manner that is consistent with the discharge by the
         members of the Board of Directors of their fiduciary duties'

         39.        Farmland Partners has also adopted a "Code of Ethics for Chief Executive Officer

and Senior Financial Officers," as of September 18, 2015 (the "Code of Ethics"). The Code           of

Ethics states that "[t]he Chief Executive Officer and Senior Financial Officers will exhibit and

promote the highest standards of honest and ethical conduct." The Code of Ethics states that they

shall:

               o    Conduct Company business in an ethical, moral and legal manner.

               a    Encourage and reward professional integrity in all aspects of the
                    organization, including by eliminating inhibitions and barriers to
                    responsible behavior, such as coercion, fear ofreprisal or alienation.

               a    Seek to avoid, eliminate and/or prevent the appearance or occurrence of
                    conflicts of interest between what is in the best interest of the Company and
                    what could result in material personal gain for a member of the organization,
                    including the Chief Executive Officer and Senior Financial Officers.

               a    Work together and with others in the Company in order to provide a
                    mechanism for members of the organization to inform senior management
                    ofdeviations in practice from policies and procedures governing honest and
                    ethical behavior.

                o   Demonstrate their personal support for honest and ethical conduct through
                    periodic communication throughout the organization regarding the
                    importance of such conduct to the Company.




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         40.      The Code of Ethics also has a specific provision for records and reports, which

states that they   will   "manage the Company's transaction and reporting system and procedures,

records and public disclosures" such that transactions are "properly authorized" and accurately

recorded in accordance with GAAP.

         41.      The Code of Ethics also states they shall "establish and maintain mechanisms to"

among other things: (i) monitor and promote compliance with applicable laws;           (ii) "fi]dentify,

report ... and correct in a swift and certain manner, any detected deviations from applicable [laws],

or [the] Code of Ethics"; and (iii) hold individuals accountable for deviations from applicable laws

or the Code of Ethics.

Additional Duties of the Audit Committee Defendants

         42.      In addition to these duties, under the Audit Committee Charter in effect        since


November 20,2017, the Audit Committee Defendants- Downey, Bartels, and Glauber-owed

specific duties to Farmland Partners to assist the Board in overseeing the Company's internal audit

function, integrity of its financial statements, and system of internal controls. Assisting the Board's

oversight over those internal controls extends to, "assur[ing] that there is in place an effective

system of internal controls reasonably designed     to ... fs]afeguard the assets and income of the

Company" and "fm]aintain compliance with the Company's ethical standards, policies, plans and

procedures, and with laws and regulations." Moreover the Audit Committee's Charter provides

the Audit Committee is responsible for reviewing all related-party transactions. In addition, the

Audit Committee Charter provides:

         The Committee shall also review the policies and procedures adopted by the
         Company to fulfill its responsibilities regarding the fair and accurate presentation
         of financial statements in accordance with U.S. generally accepted accounting
         principles ("GAAP"), the New York Stock Exchange (the "NYSE"), and the
         applicable rules and regulations of the Securities and Exchange Commission (the
         "sEC").


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Breaches of Duties

         43.         The conduct of the Individual Defendants complained of herein exceeds the realm

of sound business judgment and involves a violation of their obligations as officers and directors

of Farmland Partners, the absence of good faith on their part, and a reckless disregard for their

duties to the Company that the lndividual Defendants were aware or reckless in not being aware

posed a risk of serious injury to the Company.

         44.         The Officer Defendants breached their duties of loyalty, good faith, and candid

disclosure by allowing defendants to cause, or by themselves causing, the Company to disseminate

improper statements to the public, unlawful practices that wasted the Company's assets, and caused

Farmland Partners to incur substantial damage.

             45.     The Director Defendants violated their obligations under MGCL $ 2-405.1 to act

in good faith, in a manner reasonably believed to be in the best interests of Farmland Partners, and

with the care of an ordinary prudent person, by allowing defendants to cause, or by themselves

causing, the Company to disseminate improper statements to the public, unlawful practices that

wasted the Company's assets, and caused Farmland Partners to incur substantial damage.

             46.     The Audit Committee Defendants had a duty to review the Company's earnings

press releases and regulatory filings. The Audit Committee Defendants breached their duty           of

loyalty and good faith by approving the improper statements detailed herein and failing to properly

oversee Farmland Partners'public statements and internal control function.

         47.         Each   of the Individual   Defendants also failed   to act in good faith and with

appropriate care by causing or allowing Farmland Partners to repurchase its stock on the open

market at prices the Individual Defendants knew were artificially inflated by their misleading

statements and omissions.




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         48.      The Individual Defendants, because of their positions of control and authority    as


officers and/or directors of Farmland Partners, were able to and did, directly or indirectly, exercise

control over the wrongful acts complained of herein. The Individual Defendants also failed to

prevent the other Individual Defendants from taking such illegal actions. As a result, and in

addition to the damage the Company has already incurred, Farmland Partners has expended, and

will continue to expend, significant      sums of money.

          CONSPIIL{CY. AIDING AND ABETTING. AND CONCERTED ACTION

         49.      In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit    of   a common course of conduct, and have acted   in concert with

and conspired     with one another in furtherance of their common plan or design. In addition to the

wrongful conduct herein alleged as giving rise to primary liability, the Individual Defendants

fuither aided and abetted andlor assisted each other in breaching their respective duties.

         50.      During all times relevant hereto, the Individual Defendants, collectively       and

individually, initiated a course of conduct that was designed to and did: (i) deceive the investing

public, including stockholders of Farmland Partners, as to the Individual Defendants'management

of the Company, and as to its operations, financial condition, related-party transactions, and

noncompliance with laws, regulations, and policies; (ii) artificially inflate Farmland Partners' stock

price while the Company repurchased its own stock; and (iii) enhance the Individual Defendants'

executive and directorial positions at Farmland Partners and the profits, power, and prestige that

the Individual Defendants enjoyed as a result of holding these positions. In furtherance of this

plan, conspiracy, and course of conduct, the Individual Defendants, collectively and individually,

took the actions set forth herein.




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         51.       The Individual Defendants engaged in a conspiracy, common enterprise, andlor

common course of conduct. During this time, the Individual Defendants caused the Company to

issue improper financial statements and operate           with   inadequate intemal controls, risk

management procedures, and other policies to alert them          of the related-party transactions, or

actively concealed the Company's loans to related parties.

          52.      The purpose and effect     of the Individual Defendants' conspiracy, common
enterprise, andlor common course of conduct was, among other things, to disguise the Individual

Defendants' violations of securities law, breaches of duties, waste of corporate assets, and unjust

enrichment; and to conceal adverse information concerning the Company's operations, financial

condition, and future business prospects.

         53.       The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company to purposefully or recklessly release

improper statements. Because the actions described herein occurred under the authority of the

Board, each of the Individual Defendants was a direct, necessary, and substantial participant in the

conspiracy, common enterprise, andlor common course of conduct complained of herein.

          54.      Each of the Individual Defendants aided and abetted and rendered substantial

assistance     in the wrongs complained of herein. In taking such actions to substantially assist the

commission       of the wrongdoing complained of herein, each Individual Defendant acted with

knowledge of the primary wrongdoing, substantially assisted          in the accomplishment of that

wrongdoing, andwas aware of his overall contribution to and furtherance of the wrongdoing.

  DEFENDANTS ISSUE SEVERAL LOANS TO UNDISCLOSED RELATED PARTIES

GAAP Requires Farmland Partners to Disclose Related-Party Transactions

         55.       GAAP requires corporations to include disclosures and descriptions of "related

party transactions," including the nature of the relationship involved. Accounting Standards

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Codification 850-10-50 ("ASC 850"). GAAP defines a related parties as those "with which the

entity may deal    if   one party controls ar can   signfficantly influence the management or operating

policies of the other to an extent that one of the transacting parties might be prevented from fully

pursuing its own separate interests." ASC 850-10-20.

         56.      Related-party transactions require disclosure because, unlike transactions with third

parties, they are often not negotiated at arm's-length and therefore can present increased risks to a

company. For example, a company may agree to more lenient or less favorable terms when

transacting with related parties, which may subject a company to increased liability and future

costs.

Ilough, Farmland Partnersr Cofounder and Defendant Pittman's Long-Time Business
Partnerr ls a Related Party

          57.     Hough is defendant Pittman's long-time business partner, who,          in addition   to

cofounding Farmland Partners, also played a significant role in the Company's management. In

2012, Hough and defendant Pittman merged their personal farmland holdings to form Pittman

Hough Farms LLC ("Pittman Hough Farms"). Defendant Pittman owned a75o/o interest in Pittman

Hough Farms while Hough and his familymembers owned the remaining2loh. ln2}74,defendant

Pittman and Hough spun the majority of their holdings in Pittman Hough Farms into Farmland

Partners, which held its      initial public offering ("IPO") in the   same year.


         58.      Before its IPO, Farmland Partners maintained that Hough was integral to forming

and developing the Company's business strategy. Specifically, in a Febru ary 12, 2014 lettet to the

SEC, Farmland Partners stated:

         The Company respectfully advises the Staff that the Company has formulated its
         business strategy based on the extensive experience of Messrs. Pittman, Fabbri and
         Hough as owners of agricultural real estate and operators of farming businesses.
         While their views are informed by press articles, which provide additional
         perspectives and may influence some market participants, Messrs. Pittman, Fabbri
         and Hough develop the Company's strategies instead based on thoughtful analysis

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         of published data, market intelligence from expansive and strong relationships
         throughout the agricultural sector and actual experience ofacquiring, operating and
         leasing farmland.

         59.      On   April 1I,2014, Farmland   Partners held its IPO of 3.8   million shares at $13 per

share. The Company had only two employees at the time of the IPO and currently has less than

twenty. As such, Farmland Partners' employees and management worked closely together, giving

them extensive knowledge over all aspects of the Company's business. Their intimate working

relationship additionally gave them significant influence over one another.

         60. At the time of the IPO, Farmland Partners' business was renting farmland to
farmers. Farmland Partners' IPO Prospectus provides that all of the Company's farms (except two)

were rented to and operated by entities in which Hough held an interest, including Astoria Farms

and Hough Farms. Astoria Farms was a partnership          in which Pittman Hough Farms held       a33o/o


partnership interest, Hough owned a 4.3o/o indirect interest, and limited partnerships in which

defendant Pittman was the general partner owned the remaining interest. As for Hough Farms (a

different entity than Pittman Hough Farms), defendant Pittman and Hough each held indirect

partnership interests of | 8.7 5% and 28.3o/o, respectively.

          61.     Farmland Partners'IPO Prospectus holds out Astoria Farms and Hough Farms             as


related parties. The Company explained that Hough Farms was related because Hough held an

interest in the entity and would provide consultancy services to the Company. In particular, the

IPO Prospectus stated:

         Our principal source of revenue will be rent from tenants that conduct farming
         operations on our farmland. Upon completion of this offering, substantially all of
         the farmland in our initial portfolio will be leased to either Astoria Farms, which is
         controlled by Paul A. Pittman, our Executive Chairman, President and Chief
         Executive Officer, or Hough Farms, in which Mr. Pittman and Jesse J. Hough,
         who will provide consulting services to tts, have sn interest. See "Our Business
         and Properties-Description of Tenants." We refer to Astoria Farms and Hough
         Farms as our "related tenants" in this prospectus.


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         62.      Further cementing Hough's related-party status, Farmland Partners'IPO Prospectus

stressed how important Hough's consultancy would be for the Company. Farmland Partners touted

Hough's experience in the agricultural business while emphasizingthat his consultancy would

extend to virtually all aspects of the Company's business. The Prospectus further pointed out that

Hough would be over a 5olo stockholder in the Company. Specifically, the IPO Prospectus stated:

         Mr. Pittman, our Executive Chairman, President and Chief Executive Officer, and
         Luca Fabbri, our Chief Financial Officer, comprise our management team. In
         addition, effictive upon completion of this offering, we will enter into a consulting
         agreement with Jesse J. Hough, or the Consulting Agreement, pursuant to which
         Mr. Hough will advise us with respect to business strategies and related matters,
         including asset underwriting, asset acquisitions and accounting matters, as well
         as other matters reasonably requested by us during the term of the Consulting
         Agreement. See "Management-Consulting Agreement." Mr. Hough was
         previously apartner of Kennedy and Coe, a top 100 accounting firm that focuses
         on agribusiness accounting, and has worked with Mr. Pittman since late 20ll,when
         Messrs. Pittman and Hough agreed to merge their respective farmland and farming
         operations holdings. See "Our Business and Properties-Our Real Estate
         Experience." Messrs. Pittman, Fabbri and Hough have more than ten, three and ten
         years ofexperience, respectively, as owners ofagricultural real estate and operators
         of farming businesses and collectively have consummated over 70 transactions to
         acquire and consolidate various farmland parcels. As a result, we believe Messrs.
         Pittman, Fabbri and Hough have a deeper understanding of agribusiness
         fundamentals and greater insight into factors affecting the value of farmland than
         many of our competitors. Upon completion of this offering and the formation
         transactions, Mr. Pittmun and Mr. Hough will own apptoximately 26.3% and
         5.2%, respectively, of the fully diluted equity interests in our company, which we
         believe aligns their interests with those of our stockholders.

          63.     Farmland Partners considered Hough so important that the IPO Prospectus wamed

that losing him could have a material adverse effect on the Company's business. Moreover,

Farmland Partners stated      it   was "dependent" on Hough and admitted that his consultancy

agreement was not negotiated at arm's-length. In particular, the IPO Prospectus stated:

         The loss of key management personnel, particularly Paul A. Pittman snd Luca
         Fabbri, or the loss of Jesse J, Hough, our consultant, could have a material
         adverse effect on our ability to implement our business strategy and to achieve
         our investment objectives.



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         Our future success depends to a significant extent on the continued service and
         coordination of our senior management team, particularly Paul A. Pittman, our
         Executive Chairman, President and Chief Executive Officer, and Luca Fabbri, our
         Chief Financial Officer. We can provide no assurances that any of our key
         personnel will continue their employment with us. The loss of services of any of
         our executive officers could have a material adverse effect on our ability to
         implement our business strategy and to achieve our investment objectives.

         In addition, the success of the farm operator that will rent substantially all of our
         properties upon completion of this offering depends to a significant extent on the
         continued service of Jesse J. Hough, who manages the farming operations of our
         related tenants that will lease substantially all of the farms in our initial portfolio.
         The loss of services from Mr. Hough under the Consulting Agreement or his
         departurefrom or diminishment of his activities at our related tenants could have
         a material udverse effict on our business.

                                                **:F


         The FP Land Merger Agreement, the Shared Services Agteement, the Consulting
         Agreement and certain other agreements entered into in connection with the
         formation transactions were not negotiated on an arm's-length basis, and we may
         pursue less vigorous enforcement of terms of those agreements because of conflicts
         of interest and our dependence on Messrs. Pittman, Fabbri and Hough.

         64.         Hough continued to consult for Farmland Partners until April20l8.

             65.     Hough and defendant Pittman's extensive business relationship reaches beyond

Farmland Partners as well. In addition to holding and sharing business interests in the entities

described above (i.e., Pittman Hough Farms, Astoria Farms, and Hough Farms), Hough and

defendant Pittman were also fiduciaries together at Pine Ridge Holdings, Inc. ("Pine Ridge"), a

Wyoming entity connected to the FPI Loan Program. Hough and defendant Pittman are named             as


officers and directors in each of Pine Ridge's annual reports from 2013 through 2016. In20l7,

defendant Pittman was removed while Hough remained. Then, in 2018, Pine Ridge again listed

Hough and defendant Pittman as officers and directors in its application to transact business in

Nebraska.

             66.     Significantly, Pine Ridge is linked to one of the Company's loans to Hough. As

described more fully below, on August 25,2017, the Company issued a $669,000 loan to Hough.

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The $669,000 loan was secured by a property in Nebraska. Three months earlier, onMay 25,

2017, Hough Farms and Pine Ridge were listed as coborrowers on a deed of trust for a loan from

a   bank. The bank loan was secured by the same Nebraska property that secured Farmland Partners'

$669,000 loan to Hough. On October 2, 2017 , the bank reconveyed the deed of trust, indicating

that Hough Farms and Pine Ridge had paid the May 25,2017loan. It seems that Farmland Partners'

August 25,2017 loan was used by Hough to repay the May 25,2017 loan on behalf of Hough

Farms and Pine Ridge.           It further   appears that Farmland Partners issued the $669,000 loan to

Hough, despite the fact that the Nebraska property was already securing another loan for Pine

Ridge (for which defendant Pittman was a fiduciary from 2013 to 2016, as well as in 2018).

         67.      Hough and defendant Pittman also owned 25%o and             5olo   interests, respectively, in

American Agriculture Corporation,            a   Colorado entity. In addition, the Company's CFO, defendant

Fabbri, served alongside Hough and defendant Pittman as American Agriculture Corporation's

senior vice president.

          68.     Their inextricably woven business relationship implies that Hough had significant

influence over defendant Pittman, and therefore Farmland Partners. More importantly, in light                of

Farmland Partners' admitted dependence on Hough, his influence over the Company and its

management is undeniable. As a result, Hough is a related party under ASC 850.

Niebur, a Former Manager of Farmland Partners and Close Associate of Defendants
Pittman and Fabbri,Is Also a Related Party

          69.     Niebur,   a   former Company employee and close associate of defendants Pittman and

Fabbri, is similarly a related party. On its website in20l5, Farmland Partners listed Niebur as part

of its   management team under the               title "Farm Manager (High Plains, Mountains)." In          the

following year, Farmland Partners named Niebur the Company's "Director of Acquisitions &

Management       - High Plains,"    providing his contact information in conjunction.


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          70.      Farmland Partners continued to hold Niebur out as part of its management    ina20l7

presentation from the Company's investor relations           website. In particular, the      Company's

presentation stated:

          Ryan Niebur, Farm Manager (High Plains, Mountains)

          Ryan is a fourth generation farmer from Eastern Colorado. After college, Ryan
          began his career by returning to his roots where he started his own family farm and
          agricultural retail business (Tri-County Ag Inc.). Although Ryan has pursued other
          interests in the agricultural industry, he still is involved in the daily operations of
          his family farm. He attended Colorado State University where he received a B.S.
          in Business Marketing.

          TL       In addition, Niebur's Linkedln profile states that he worked at Farmland Partners   as


"Director of Acquisitions I Farm Manager I Realtor" from September 2015 until January 2018.

          72.      Niebur's status as a related party is further confirmed by the small size of Farmland

Partners. In light of the Company's modest employee and management base,           as   mentioned above,

Niebur worked closely with management. Due to this intimate work environment and in light              of

Niebur's important role as Director of Acquisitions, Niebur and the Company's management had

significant influence over one another.

The Individual Defendants Issue Dubious Related-Party Loans Through the FPI Loan
Program

          73.      On August 27,2075,the Company issued a press release announcing the launch          of

the FPI Loan Program. In the press release, the Company described the FPI Loan Program as "an

agricultural lending product aimed at farmers" that would "complement" Farmland Partners'

business of acquiring and renting farmland. The Company went on to explain that the program

"addresses a market need created by short term cash flow pressure on farmers who otherwise

maintain solid balance sheets." To ensure principal protection, the Company assured investors

that it intended to establish a "conservative loan-to-value criteria."




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            74.     Contrary to the Individual Defendants' claim that the FPI Loan Program filled a

market need however, only a few unrelated individuals sought loans under the program. In reality,

the FPI Loan Program's primary beneficiaries were related parties. In fact, at least five out of the

total nine loans under the FPI Loan Program went to Hough and Niebur, accounting for $9.2

million, or 70o/o, of the total $15.4 million worth of loans issued by Farmland Partners.

            75.     Although Farmland Partners listed the amounts of each of its nine loans in its public

filings with the SEC, the Individual Defendants omitted the identities of the borrowers, including

the names of Hough and Niebur, thereby disguising the Company's loans as third-party

transactions. As a result, Farmland Partners concealed that these related-party loans were not

negotiated at arm's-length and therefore presented increased risks and potential detriment to

Farmland Partners. Indeed, these risks came to fruition and ultimately harmed the Company. As

described below, several of Farmland Partners' loans to business associates were renegotiated,

defaulted, wrapped into new loans, or threatened by the borrower's bankruptcy.

The Individual Defendants Issue Undisclosed Loans to Niebur, Who Later Files for
Bankruptcy

            76.     Beginning in2015, the Individual Defendants caused Farmland Partners to enter

into   a   variety of loan transactions with Niebur despite his inability to meet his financial obligations

to the Company. On January 26,2018, Niebur and his wife, Stacie Niebur, filed a bankruptcy

petition under Chapter 12 in the U.S. Bankruptcy Court for the District of Colorado, which lists

Farmland Partners as a creditor. As described below, Niebur's bankruptcy filings and other public

records, including deeds, detail the unflattering truth about the FPI Loan Program.

            77.     On October 30, 2015, Farmland Partners loaned $980,000 to an undisclosed

borrower subsequently revealed to be Niebur. In public filings, Farmland Partners stated that the

$980,000 loan was collateralized by a mortgage on farm real estate, and that its first yoar's interest


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was due up front. In addition to omitting Niebur's identity as the borrower and his related-party

status, Farmland Partners also concealed that the loan would be used to pay                       off an existing

mortgage with a bank rather than for the FPI Loan Program's claimed purpose                           of   farming

operations. Niebur ended up defaulting on this loan.

           78.    On March 16,2017, Farmland Partners acquired the property used to collateralize

Niebur's first loan, Andersons Farm, for $801,800. Andersons Farm's deed specifically provides

that Niebur defaulted on his first loan and was required to pay a remaining balance of $240,000.

Court records from Niebur's bankruptcy reveal the remaining $240,000 obligation is collateralized

by   a   property worth only   $   192,000, resulting in a loan-to-value ratio   of   125%o and   running counter

to Farmland Partners'claim that these ratios would be "conservative."

            79.   Despite Niebur defaulting on his previous obligation                   to the Company, the

Individual Defendants carelessly proceeded to lend him even more money. The Company

disclosed this new loan (but not the identity of the borrower) on May 10,2017, as Farmland

Partners filed its Quarterly Report on Form 10-Q for the period ended March 31,2017 (the "Ql

2017 Form 10-Q") with the SEC. The              Ql   2017 Form 10-Q disclosed that the previous $980,000

loan had been "renegotiated" into a new $2.194 million loan collateralized by two additional

properties in Colorado. In addition to concealing Niebur's identity, the              Ql   2017 Form 10-Q also

omitted the fact that the undisclosed borrower had defaulted on Farmland Partners'initial loan.

           80.     Further, Farmland Partners'new $2.194 million loan to Niebur was, in realty, an

acquisition of all three properties collateralizing Niebur's loans. On the same day Farmland

Partners acquired Andersons Farm              for $801,800, the Company also acquired two additional

properties from Niebur         for $1.392 million. The cumulative acquisition price of these three

properties is $2.194 million, the same amount as Niebur's second loan.




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         81.         Niebur's bankruptcyrecords further support that in substance this loan was actually

an acquisition. Niebur lists Farmland Partners as a creditor with respect to the $240,000 obligation,

yet the $2.194 million loan is entirely omitted. As further indicated by the bankruptcy records,

Niebur and Farmland Partners shared an understanding that Niebur would never pay back the

principal, let alone any interest.

         82.         The Individual Defendants also lent, but did not disclose, an additional $68,000 to

Niebur as a Company tenant. Farmland Partners issued this loan to Niebur so that he could fulfill

his rent obligation on a new lease with the Company. According to Niebur's bankruptcy records,

he signed a new lease agreement with Farmland Partners on March 15,2017, which required his

first annual rental payment of $61,750 by March 16,2017.

The Company Issues Undisclosed Loans to Hough

         83.         Farmland Partners' dubious related-party lending continued with Hough. In a

complicated series of transactions, the Company made at least three loans worth approximately $6

million to Hough or entities affiliated with Hough.

         84.         First, on July 25,2017, Farmland Partners loaned $100,000 to Hough through PHS

Holdings LLC ("PHS Holdings"), an entity designated as a related party in the Company's IPO

Prospectus. The loan was secured by a property in Nebraska, with the deed of trust naming PHS

Holdings as the trustor and with Hough signing as the entity's manager.

         85.         Then, just one month later, on August 25, 2017, the Company loaned Hough an

additional $669,000 through Hough Farms. Hough signed the deed of trust as Hough Farm's

general partner.

         86.         The $100,000 loan made on July 25,2017, follows a trajectory similar to Niebur's

loans. Hough defaulted on the loan; Farmland Partners acquired the property securing the loan;

and then the Company lent Hough even more money despite his default. The deed from the

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Nebraska property shows that Hough (via PHS Holdings) conveyed the property to Farmland

Partners on January 12,2018. As was the case when Niebur defaulted, Farmland Partners simply

acquired the property collateralizingthe loan and considered the matter settled. The Company's

Quarterly Report on Form 10-Q for the period ended March 31,2018 (the "Ql 2018 Form 10-Q")

filed with the SEC on May 10,2018, provides that the loan "was fully settled ... on the maturity

date of January 1,2018." However, the          Ql   2018 Form 10-Q also lists January 31,2018, as the

maturity date.

          87.      Then, on January 18,2018, just six days after Farmland Partners acquired the

Nebraska property, the Individual Defendants loaned Hough an additional $5.25 million via

Siffring Farms, more than doubling the money under the FPI Loan Program from $4 million to

$9.25   million. Hough      signed the deed oftrust for the loan as Siffring Farms'president, even though

Siffring Farms is an inactive limited liability company whose president is supposedly Duane

Siffring.

          88.      It   appears Hough used the $5.25   million loan to pay off his outstanding $669,000

obligation to Farmland Partners. According to the          Ql   201S Form 10-Q, Hough's $669,000 loan

was settled on February 2, 20I8,less than one month after Farmland Partners loaned him the

additional $5.25 million.

          89.      Although the defendants' loans to Niebur and Hough may have allowed a fagade        of

growth of the FPI Loan Program, they produced no real benefit and ultimately were detrimental to

the Company. Through these loans, defendants were able to record notes receivable and provide

a false impression of a working loan program. In reality however, these loans were risky and

added no value to Farmland Partners. They were also detrimental to the Company. First, these

related-party loans represent a significant lost opportunity cost. Had defendants invested Farmland



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Partners'money elsewhere---even in treasury bonds-they would have generated greater returns

for the Company and its stockholders. In addition, Farmland Partners may never receive

repayment from Niebur in light of his bankruptcy. Further, the Company's reputation was severely

damaged when defendants'related-party loan scheme was revealed to the public.

                                  IMPROPER STATEMENTS

       90.     Between November 12,2015 and July 10, 2018, the Individual Defendants made

or caused Farmland Partners to disseminate a series of false and misleading statements concerning

the FPI Loan Program in public filings with the SEC. Specifically, the Individual Defendants

repeatedly claimed Farmland Partners granted loans        to "third-party   farmers" while issuing

undisclosed loans to at least two related parties. The Individual Defendants also repeatedly

emphasized the due diligence conducted in connection with issuing loans despite knowledge        of

their failure to properly vet related-party borrowers. In addition, defendants caused or allowed the

Company to misrepresent its compliance with GAAP and the effectiveness of its internal controls.

       91.     On November 12,2015, Farmland Partners filed its Quarterly Report on Form 10-

Q for the period ended September 30, 2015 (the "Q3 2015 Form l0-Q") with the SEC. Although

the FPI Loan Program was designed to lend money to related parties, the Q3 2015 Form 10-Q

falsely claimed it was meant for "third-party farmers." Further, though these related-party loans

created an unnecessary risk for Farmland Partners, the Q3 2015 Form 10-Q mischaracterized the

FPI Loan Program as a "complement" to the Company's core business of leasing farmland. In

particular, the Company stated:

       FPI Loan Program

       In August 2015, the Company announced the launch of the FPI Loan Program, an
       agricultural lending product aimed at farmers, as a complement to the Company's
       current business of acquiring and owning farmland and leasing it to farmers. Under
       the FPI Loan Program, we intend. to make loans to third-pafi farmers (both
       tenant and nontenant) to provide partial financing for working capital requirements

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         and operational farming activities, farming infrastructure projects, and for other
         farming and agricultural real estate related purposes.

         92.      Although the Q3 2015 Form 10-Q disclosed related-party transactions, which

included those of Hough and defendant Pittman, the Individual Defendants concealed the October

2015 loan to Niebur, a related party. In particular, the Q3 2015 Form 10-Q stated the following

about related-party transactions:

         Note 4-Related Party Transactions
                                             rF*{<


         As of September 30,2015,11% of the acres in the Company's farm portfolio was
         rented to and operated by Astoria Farms or Hough Farms, both of which are related
         parties. Astoria Farms is a partnership in which Pittman Hough Farms LLC
         ("Pittman Hough Farms"), which is 75o/o owned by Mr. Pittman, has a 33.34%
         interest. The balance of Astoria Farms is held by limited partnerships in which Mr.
         Pittman is the general partner. Hough Farms is a partnership in which Pittman
         Hough Farms has a25oh interest. The aggregate rent recognized by the Company
         for these entities for the three and nine months ended September 30, 2015 was
         $685,005 and $2,035 ,752, respectively, and was $618,710 and $1,856,129 fot the
         three and nine months ended September 30,2014, respectively. As of September
          30,2015 and December 3 I , 2014, the Company had accounts receivable from these
         entities of $ 3 80, 1 2 2 and gl 82,7 63, respectively.

         For the three and nine months ended September 30, 2014, Pittman Hough Farms
         incurred $0 and $219,597, respectively, in professional fees on behalf of the
         Company. No such amounts were incurred for the three and nine months ended
         September 30,2015.

         American Agriculture Corporation ("American Agriculture") is a Colorado
         corporation that is 75oh owned by Mr. Pittman and25o/o owned by Jesse J. Hough,
         who provides consulting services to the Company. On April 16, 2014, the
         Company entered into a shared services agreement with American Agriculture
         pursuant to which the Company paid American Agriculture an annual fee of
         $175,000 in equal quarterly installments in exchange for management and
         accounting services. The agreement was terminated effective as of December 31,
         20l4,by mutual agreement of both parties.

          93.     Though the Company failed to disclose the October 2015 loan to Niebur as     a


related-party transaction in accordance with ASC 850-10-50, the Individual Defendants falsely




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represented the Q3 2015 Form 1O-Q's compliance       with GAAP. In particular, the Q3 2015 Form

l0-Q stated:

         The accompanylng combined consolidated financial statements are presented on
         the accrual basis of accounting in accordance with accounting principles generally
         accepted in the United States of America ("GAAP") and include the accounts of the
         Company and the Operating Partnership'

         94.      Further, the Q3 2015 Form 10-Q affirmed that the Company's internal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The Q3 2015 Form 10-Q contained the signed certifications      of

defendants Pittman and Fabbri pursuant to the Sarbanes-Oxley Act of 2002 ("SOX") attesting to

the accuracy of the reported financial information, the disclosure of any material changes to the

Company's internal control over financial reporting, and the disclosure of all fraud.

         95.      On March 15,2016, Farmland Partners filed its Annual Report on Form 10-K for

the year ended December 3I,2015 (the "2015 Form         l0-K") with the SEC, which was signed by

defendants Pittman, Fabbri, Downey, Bartels, Glauber, and      Sarff. The 2015 Form lO-K      again


falsely represented the FPI Loan Program as being designed for third-party farmers. Specifically,

the 2015 Form 10-K stated:

         fJnder the FPI Loan Program, we intend to make loans to third-parQt farmers
         (both tenant and non-tenant) to provide partial financing for working capital
         requirements and operational farming activities, farming infrastructure projects,
         and for other farming and agricultural real estate related purposes.

         96.      In addition, the 2015 Form 10-K emphasized the synergies provided by the FPI

Loan Program while highlighting the due diligence that Farmland Partners conducted as             a


predicate to issuing loans. Specifically, the 2015 Form lO-K conveyed that Farmland Partners'

potential debtors would be screened as rigorously as the Company's potential tenants, meaning

that loans would be granted based on "[the borrower's] willingness and ability to pay competitive

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... rates." In reality however, the Individual Defendants failed to properly vet certain borrowers,

as indicated       by several loans being renegotiated, defaulted, wrapped into new loans, or threatened

by the borrower's eventual bankruptcy. Rather, the main standard by which loans were granted

was whether the recipient was a related party. As a result of these lenient underwriting standards,

the FPI Loan Program was not "highly complementary to and synergistic with fFarmland Partners']

core business of investing in farmland" as the 2015 Form 10-K claimed. Instead, the FPI Loan

Program was a detriment to the Company. In particular, the 2015 Form 10-K stated:

         In general, the tenant selection process focuses primarily on candidates' experience
         and reputationbased upon background and reference checks of potential tenants,
         as well as their willingness and ability to pay competitive rental rates.

                                                  *.:F*


         FPI Loan Program

         We believe that our existing systems and personnel are well suited to source,
         diligence, close and manage loans under the FPI Loan Program at little or no
         additional cost to us. We believe that the business of making loans secured by
         mortgages on farmland is highly complementary to, and synergistic with, our
         core business of investing in furmland. We generally find potential borrowers
         during the process of sourcing farm acquisitions. We conduct due diligence on
         loun collateral the same way we conduct due diligence on potential farm
         acquisitions, and we screen potential bowowers the satne way we screen potential
         tenants. The FPI Loan Program offering gives us an increased visibility in the
         marketplace, thereby benefiting our core farmland investing business.

         97.         Further, the 2015 Form 10-K downplayed the nature of the risks associated with

the FPI Loan Program, mischaracteizingthose risks as merely the fundamental ones "associated

with being     a   lender." However, the FPI Loan Program exposed the Company to risks beyond those

traditionally associated with lending because it was used to grant undisclosed loans to related

parties. Unlike transactions with third parties, these related-party loans were not negotiated at

arm's-length, were issued with more lenient underwriting standards, and presented an increased

risk that the borrowers' indebtedness would be forgiven on the basis of their personal relationship.


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Further, the FBI Loan Program presented a risk of reputational harm in the event the related-party

loans were revealed. Specifically, the 2015 Form 10-K stated:

         (lnder the FPI Loan Program, we provide loans to third-parfit farmers, which
         exposes us to risks associated with being a lender, including the risk that
         borrowers defuult on their obligations to us, which could adversely affect our
         results of operations and ft.nancial condition.

         98.       Although rhe20L5 Form 10-Kdisclosedthe$980,000loanissuedbytheCompany

to Niebur, the Individual Defendants concealed Niebur's identity and status as a related-party

borrower, giving investors the false impression that the loan was a third-party transaction. In

particular, the 2015 Form 10-K stated:

         On November 16,2015, the Company entered into a promissory note agreement
         with a tenant farmer to provide $980,000 in the form of a mortgage note. The note
         has a fixed annual interest rate with principal and all accrued interest due at maturity
         on October 30,2017. The note is collateralizedby a first mortgage on farm real
         estate.

         gg.       Although the 2015 Form        l0-K     disclosed related-party transactions, those

disclosures omitted the October 2015loan to Niebur, a related party.

         100.      The 2015 Form 10-K affirmed that the Company's intemal control over financial

reporting was effective and that there were no changes in the Company's internal control that

materially affected, or were reasonably likely to materially effect, the Company's internal control

over financial reporting. The 2015 Form 10-K contained the signed certifications of defendants

Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial information,

the disclosure of any material changes to the Company's internal control over financial reporting,

and the disclosure of all fraud.

          101.     On May 10,2016, Farmland Partners filed its Quarterly Report on Form 10-Q for

the period ended March 31,2016 (the       "Ql 2016 Form 10-Q") with      the SEC. The    Ql   2016 Form




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10-Q again falsely represented the FPI Loan Program as designed for "third-party farmers" and

complementary to the Company's core business. In particular, the Q1 2016 Form 10-Q stated:

         In August 20l5,the Company introduced an agricultural lending product aimed at
         farmers as a complement to the Company's business of acquiring and owning
         farmland and leasing it to farmers (the "FPI Loan Program"). Under the FPI Loan
         Program, the Company makes loans to third-partyfarmers (both tenant and non-
         tenant) to provide financing for working capital requirements and operational
         farming activities, farming infrastructure projects, and for other farming and
         agricultural real estate related projects.

         102.     The   Ql 2016 Form 10-Q again   emphasized the synergies provided by the FPI Loan

Program while highlighting the due diligence that Farmland Partners conducted as a predicate to

issuing loans. In particular, the   Ql 2016 Form   10-Q stated:

         FPI Loan Program

         We believe that our existing systems and personnel are well suited to source,
         perform due diligence, close and manage loans under the FPI Loan Program at little
         or no additional cost to us. We believe that the business of making loans secured
         by mortgages on farmland is highly complementary to, and synergistic with, our
         core business of investing in farmland. We generally find potential borrowers
         during the process of sourcing farm acquisitions. We conduct due diligence on
         loan collateral the same way we conduct due diligence on potential farm
         acquisitions, and we screen potential borrowers the same way we screen potential
         tenants. The FPI Loan Program offering gives us an increased visibility in the
         marketplace, thereby benefiting our core farmland investing business.

         103.     The   Ql   2016 Form 10-Q again disclosed the $980,000 loan, but again concealed

Niebur's identity and status as a related-party borrower.

          104.    The   Ql   2016 Form 10-Q also provided a similar explanation of the Company's

related-party transactions contained in the 2015 Form 10-K.

          105.    Though the Company failed to disclose the October 2015 loan to Niebur as a

related-party transaction in accordance with ASC 850-10-50, the Individual Defendants falsely

represented the    Ql   2016 Form 10-Q's compliance with GAAP. In particular, the    Ql   2016 Form

10-Q stated:



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         The accompanying combined consolidated financial statements for the periods
         ended March 3l , 2016 and 2015 are presented on the accrual basis of accounting in
         accordance with accounting principles generally accepted in the United States of
         America ("GAAP") and include the accounts of the Company and the Operating
         Partnership.

         106.     Further, the   Ql 2016 Form 10-Q affirmed that the Company's internal control over
financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The      Ql   2016 Form 10-Q contained the signed certifications   of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial

information, the disclosure       of any material   changes   to the Company's internal control over

financial reporting, and the disclosure of all fraud.

          107.    On May 10,2016, the Company held an earnings call with analysts and investors,

during which defendant Pittman represented that all of the Company's acquisitions were arm's-

length transactions. Specifically, defendant Pittman stated: "Given that everything we facquired]

has been an arm's length market transaction of some sort in the last two years, we think acquisition

cost is probably the safest judgment of value."

          108.    On August 9,2016, Farmland Partners filed its Quarterly Report on Form 10-Q for

theperiodendedJune30,2016(the'Q22016Form10-Q")withtheSEC.                      TheQ22016Form10-

Q again falsely represented the FPI Loan Program as designed for "third-party farmers" and
complementary to the Company's core business. In particular, the Q2 2016 Form 10-Q stated:

         In August 2015, the Company introduced an agricultural lending product aimed at
         farmers as a complement to the Company's business of acquiring and owning
         farmland and leasing it to farmers (the "FPI Loan Program"). Under the FPI Loan
         Program, the Company makes loans to third-party farmers (both tenant and non-
         tenant) to provide financing for working capital requirements and operational
         farming activities, farming infrastructure projects, and for other farming and
         agricultural real estate related projects.



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        109.   The Q2 2016 Form 10-Q again disclosed the $980,000 loan while concealing

Niebur's identity and status as a related-party borrower.

        110.   The Q2 2016 Form 10-Q also provided a similar explanation of the Company's

related-party transactions contained in the 2015 Form 10-K.

        111.   Though the Company failed to disclose the October 2015 loan to Niebur as          a


related-party transaction in accordance with ASC 850-10-50, the Individual Defendants falsely

represented the Q2 2016 Form l0-Q's compliance with GAAP. In particular, the Q2 2016 Form

10-Q stated:

       The accompanying combined consolidated financial statements for the periods
       ended June 30, 2016 and 2015 are presented on the accrual basis of accounting in
       accordance with accounting principles generally accepted in the United States of
       America ("GAAP") and include the accounts of the Company and the Operating
       Partnership.

        ll2.   Further, the Q2 2016 Form 10-Q affirmed that the Company's internal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The Q2 2016 Form 10-Q contained the signed certifications of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial

information, the disclosure    of any material   changes    to the Company's internal control over

financial reporting, and the disclosure of all fraud.

        113.   On November 7,2016, Farmland Partners filed its Quarterly Report on Form 10-Q

for the period ended September 30, 2016 (the "Q3 2016 Form 10-Q") with the SEC. The Q3 2016

Form 10-Q again falsely represented the FPI Loan Program as designed for "third-party farmers"

and complementary to the Company's core business. In particular, the Q3 2016 Form 10-Q stated:

        In August 2015, the Company introduced an agricultural lending product aimed at
        farmers as a complement to the Company's business of acquiring and owning
        farmland and leasing it to farmers (the "FPI Loan Program"). Under the FPI Loan

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         Program, the Company makes loans to third-party farmers (both tenant and non-
         tenant) to provide financing for working capital requirements and operational
         farming activities, farming infrastructure projects, and for other farming and
         agricultural real estate related projects.

             Il4.    The Q3 2016 Form 10-Q again disclosed the $980,000 loan, but again concealed

Niebur's identity and status as a related -partyborrower.

         115.        The Q3 2016 Form 10-Q also provided a similar explanation of the Company's

related-party transactions contained in the 2015 Form 10-K.

             116.    Though the Company failed to disclose the October 2015 loan to Niebur as a

related-party transaction in accordance with ASC 850-10-50, the Individual Defendants falsely

represented the Q3 2016 Form 10-Q's compliance with GAAP. In particular, the Q3 2016 Form

10-Q stated:

         The accompanying combined consolidated financial statements for the periods
         ended September 30, 2016 and 2015 are presented on the accrual basis of
         accounting in accordance with accounting principles generally accepted in the
         United States of America ("GAAP") and include the accounts of the Company and
         the Operating Partnership.

             Il7.    Further, the Q3 2016 Form 10-Q affirmed that the Company's internal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The Q3 2016 Form 10-Q contained the signed certifications of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial

information, the disclosure       of any material   changes   to the Company's internal control over

financial reporting, and the disclosure of all fraud.

             118.    On February 23,2017, Farmland Partners filed its Annual Report on Form 10-K

for the year ended December 31,2016 (the "2016 Form 10-K") with the SEC, which was signed

by defendants Pittman, Fabbri, Downey, Bartels, Boardman, Conrad, Gimbel, Glauber, and Sarff.


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The20I6 Form 10-K again falsely represented the FPI Loan Program      as   being designed for "third-

party farmers." Specifically, the2016 Form 10-K stated

         (Jnder the FPI Loan Program, we make loans to third-partyfarmers (both tenant
         and non-tenant) to provide partial financing for working capital requirements and
         operational farming activities, farming infrastructure projects, and for other
         farming and agricultural real estate related purposes.

         I19.     The 2016 Form 10-K again emphasized the s5mergies provided by the FPI Loan

Program while highlighting the due diligence that Farmland Partners conducted as a predicate to

issuing loans. Specifically, the 2016 Form 10-K stated

         FPI Loan Program

         We believe that our existing systems and personnel are well suited to source,
         diligence, close and manage loans under the FPI Loan Prograrn at little or no
         additional cost to us. We believe that the business of making loans secured by
         mortgages on farmland. is highly complementary to, and synergistic with, our
         core business of investing in farmland. We generally find potential borrowers
         during the process of sourcing farm acquisitions. We conduct due diligence on
         loan collsteral the same way we conduct d.ue diligence on potential farm
         acquisitions, and we screen potential borrohters the same way we screen potential
         tenflnts. The FPI Loan Program offering gives us an increased visibility in the
         marketplace, thereby benefiting our core farmland investing business.

          120.    The 2016 Form 10-K continued to downplay the nature of the risks associated with

the FPI Loan Program, mischaracteizingthose risks as merely the fundamental ones "associated

with being a lender." Specifically, the 2016 Form l0-K stated:

         (Jnder the FPI Loan Program, we provide loans to third-pafi farmers, which
         exposes us to risks associated with being a lender, including the risk that
         borrowers default on their obligations to tts, which could adversely affect our
         results of operations and financial condition.

          l2l.    The 2016 Form 10-K again disclosed the $980,000 loan, but again concealed

Niebur's identity and status as a related-party borrower.

          122.    The 2016 Form 10-K also provided a similar explanation of the Company's

related-party transactions contained in the 2015 Form l0-K.



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          123. Though        the Company failed to disclose the October 2015 loan to Niebur as a

related-party transaction in accordance with ASC 850-10-50, the Individual Defendants falsely

represented the 2016 Form 10-K's compliance with           GAAP. In particular, the 2016 Form 10-K

stated:

          The accompanying consolidated financial statements are presented on the accrual
          basis of accounting in accordance with accounting principles generally accepted in
          the United States of America ("GAAP") and include the accounts of the Company
          and the Operating PartnershiP.

           124.      Further, the 2016 Form 10-K affirmed that the Company's internal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The 2016 Form 10-K contained the signed certifications of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial

information, the disclosure       of any material   changes   to the Company's internal control over

financial reporting, and the disclosure of all fraud.

             125. On May 10,2017,      Farmland Partners filed its Ql2017 Form 10-Q with the SEC.

The   Ql     2017 Form 10-Q again falsely represented the FPI Loan Program as designed for "third-

party farmers" and complementary to the Company's core business. In particular, the            Ql   2017

Form 10-Q stated:

          In August 20l5,the Company introduced an agricultural lending product aimed at
          farmers as a complement to the Company's business of acquiring and owning
          farmland and leasing it to farmers (the "FPI Loan Program"). Under the FPI Loan
          Program, the Company makes loans to third-parQt farmers (both tenant and non-
          tenant) to provide financing for working capital requirements and operational
          farming activities, farming infrastructure projects, and for other farming and
          agricultural real estate related projects.

             126.    The status of Niebur's $980,000 loan remained unchanged until the   Ql   2017 Form

lg-Q, which reported that the loan had been "renegotiated." Moreover, the Company disclosed


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that it had simultaneously issued a second loan for a far more substantial amount of $2.194 million.

Niebur continued to pass off as an unrelated borrower, as the QI2017 Form 10-Q again failed to

disclose his identity and related-party designation. In particular, the Ql2017 Form 10-Q stated:

         The original note was renegotiated and a second note was entered into
         simultaneously, with the borrower during the quarter. The notes include mortgages
         on two additional properties in Colorado that include repurchase options for the
         properties at a fixed price that are exercisable between the second and fifth
         anniversary of the notes by the borrower.

         127. The Ql       2017 Form 10-Q's related-party disclosures continued        to omit   the

Company's October 2015 andMarch 2017 loans to Niebur.

         128. Though the Company failed to disclose its loans to Niebur            as related-party

transactions in accordance with ASC 850-10-50, the Individual Defendants falsely represented the

Ql2017 Form l0-Q's compliance with GAAP. In particular, the Ql 2017 Form 10-Q stated:

         The accompanylng consolidated financial statements for the periods ended March
         37,2017 and2016 are presented on the accrual basis of accounting in accordance
         with accounting principles generally accepted in the United States of America
         ("GAAP") and include the accounts of the Company and the Operating Partnership.

          129. Further, the Ql 2017 Form l0-Q affirmed that the Company's internal control over
financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The Ql2017 Form 10-Q contained the signed certifications        of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial

information, the disclosure    of any material   changes   to the Company's internal control over

financial reporting, and the disclosure of all fraud.

          130.    On July 2I,2017, Farmland Partners filed its Quarterly Report on Form 10-Q for

the period ended June 30, 2017 (the"Q22017 Form 10-Q") with the SEC. The Q22017 Form 10-




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Q again falsely represented the FPI Loan Program as designed for "third-party farmers" and

complementary to the Company's core business. In particular, the Q2 2017 Form 10-Q stated:

         In August 2015, the Company introduced an agricultural lending product aimed at
         farmers as a complement to the Company's business of acquiring and owning
         farmland and leasing it to farmers (the "FPI Loan Program"). Under the FPI Loan
         Program, the Company makes loans to third-party farmers (both tenant and non-
         tenant) to provide financing for working capital requirements and operational
         farming activities, farming infrastructure projects, and for other farming and
         agricultural real estate related projects.

         131.     The Q2 2017 Form 10-Q again disclosed the $980,000 loan, but again concealed

Niebur's identity and status as a related-party borrower. The Q2 2017 Form 10-Q also disclosed

the second $2.194 million loan and similarly concealed Niebur's identity and status as a related-

party borrower.

         132.     Although the 2Q 2017 Form 10-Q disclosed related-party transactions, the

Individual Defendants concealed the October 2015 and March 2017 loans to Niebur, in those

disclosures.

         133.     Though the Company failed     to disclose its loans to Niebur as related-party

transactions in accordance with ASC 850-10-50, the Individual Defendants falselyrepresented the

Q2 2017 Form 10-Q's compliance with GAAP. In particular, the Q2 2017 Form 10-Q stated:

         The accompanying consolidated financial statements for the periods ended June 30,
         2017 and20I6 arepresented on the accrual basis of accounting in accordance with
         accounting principles generally accepted in the United States of America
         ("GAAP") and include the accounts of the Company and the Operating Partnership.

          134.    Further, the Q2 2017 Form 10-Q affirmed that the Company's internal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The Q2 2017 Form 10-Q contained the signed certifications of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial


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information, the disclosure    of any material   changes     to the Company's internal control over

financial reporting, and the disclosure of all fraud.

         135.     On November 9, 2017, Farmland Partners filed its Quarterly Report on Form 10-Q

for the period ended September 30,2017 (the "Q3 2017 Form 10-Q") with the SEC. The Q3 2017

Form 10-Q again falsely represented the FPI Loan Program as designed for "third-party farmers"

and complementary to the Company's core business. In particular, the Q3 2017 Form 10-Q stated:

         In August 2015,the Company introduced an agricultural lending product aimed at
         farmers as a complement to the Company's business of acquiring and owning
         farmland and leasing it to farmers (the "FPI Loan Program"). Under the FPI Loan
         Program, the Company makes loans to third-party farmers (both tenant and non-
         tenant) to provide financing for working capital requirements and operational
         farming activities, farming infrastructure projects, and for other farming and
         agricultural real estate related projects.

         136.     The Q3 2017 Form 10-Q again disclosed the$2.194 million loan while concealing

Niebur's identity and status as a related-party borrower. The Q3 2017 Form 10-Q also disclosed

new loans for $100,000 and $669,000 while similarly concealing Hough's identity and status as a

related-party borrower.

         131.     Although the 3Q 2017 Form 10-Q disclosed related-party transactions, the

Individual Defendants concealed the October 2015 and March 2017 loans to Niebur, and also

omitted the July and August2}lT loans to Hough in those disclosures.

         138.     Though the Company failed       to    disclose its loans   to Niebur and Hough   as


related-party transactions in accordance with ASC 850-10-50, the Individual Defendants falsely

represented the Q3 2017 Form 10-Q's compliance          with GAAP. In particular, the Q3 2017 Form

lO-Q stated:

         The accompanylng consolidated financial statements for the periods            ended
         September 30,2017 and 2016 are presented on the accrual basis of accounting in
         accordance with accounting principles generally accepted in the United States of
         America ("GAAP") and include the accounts of the Company and the Operating
         Partnership.

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          139.     Further, the Q3 2017 Form 10-Q affirmed that the Company's intemal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The Q3 2017 Form 10-Q contained the signed certifications        of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial

information, the disclosure     of any material   changes      to the Company's internal control over

financial reporting, and the disclosure of all fraud.

          140. On March 5,2018,Farmland        Partners filed its Annual Report on Form 10-K for the

year ended December 31,2017 (the "2017 Form 10-K") with the SEC, which was signed by

defendants Pittman, Fabbri, Downey, Bartels, Glauber, Good, and         Gimbel. The 2017 Form 10-K

agunfalsely represented the FPI Loan Program as being designed for "third-party farmers."

Specifically, the 2077 Form 1 0-K stated:

          Under the FPI Loan Program, we make loans to third-partyfarmers (both tenant
          and non-tenant) to provide partial financing for working capital requirements and
          operational farming activities, farming infrastructure projects, and for other
          farming and agricultural real estate related pu{poses.

          l4l.     The 2017 Form 10-K again emphasized the synergies provided by the FPI Loan

Program while highlighting the due diligence that Farmland Partners conducted as a predicate to

issuing loans. Specifically, the 2017 Form    l0-K   stated:

          FPI Loan Program

          We believe that our existing systems and personnel are well suited to source,
          diligence, close and manage loans under the FPI Loan Progran at little or no
          additional cost to us. We believe that the business of making loans secared by
          mortgages on farmland is highly complementary to, and synergistic with, our
          core business of investing in farmland. We generally find potential borrowers
          during the process of sourcing farm acquisitions. We conduct due diligence on
          loan collateral the s&me way we conduct due diligence on potential farm
          acquisitions, and we screen potential bonowers the same way we screen potential
          tenants. The FPI Loan Program offering gives us an increased visibility in the
          marketplace, thereby benefiting our core farmland investing business.

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          142.          The20l7 Form 10-K continued to downplay the nature of the risks associated with

the FPI Loan Program, mischaracteizingthose risks as merely the fundamental ones "associated

with being        a   lender." Specifically, the 2017 Form 10-K stated:

          (Jnder the FPI Loan Program, we provide loans to third-party farmers, which
          exposes us to risks associated with being a lender, including the risk that
          borrowers defoult on their obligations to us, which could adversely affict our
          results of operations and ftnancial condition.

          143. The 2017 Form 10-K again disclosed the $2.194 million loan, the $100,000 loan,
and the $669,000 loan while concealing the identities of Niebur and Hough and their statuses as

related-party borrowers.

          144.          Although the 2017 Form 10-K disclosed related-party transactions, the Individual

Defendants concealed the October 2015 and March 2017 loans to Niebur, and also omitted the

July and August 2017 loans to Hough in those disclosures.

             145.       Though the Company failed      to   disclose   its loans to Niebur and Hough   as


related-party transactions in accordance with ASC 850-10-50, the Individual Defendants falsely

represented the 2017 Form 10-K's compliance with              GAAP. In particular, the 2017 Form 10-K

stated:

          The accompanylng consolidated financial statements are presented on the accrual
          basis of accounting in accordance with accounting principles generally accepted in
          the United States of America ("GAAP") and include the accounts of the Company
          and the Operating PartnershiP.

             146.       Further, the 2017 Form 10-K affirmed that the Company's internal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The 2017 Form 10-K contained the signed certifications of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial




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information, the disclosure      of any material   changes    to the Company's internal control over

financial reporting, and the disclosure of all fraud.

           147. On May 10, 2018, Farmland Partners filed its Ql 2018 Form 10-Q with the SEC.
The   Ql   2018 Form 10-Q again falsely represented the FPI Loan Program as designed for "third-

party farmers" and complementary to the Company's core business. In particular, the               Ql   2018


Form 10-Q stated:

           In August 2015, the Company introduced an agricultural lending product aimed at
           farmers as a complement to the Company's business of acquiring and owning
           farmland and leasing it to farmers (the "FPI Loan Program"). Under the FPI Loan
           Program, the Company makes loans to third-partyfarmers (both tenant and non-
           tenant) to provide financing for working capital requirements and operational
           farming activities, farming infrastructure projects, and for other farming and
           agricultural real estate related projects.

           148.   The   Ql   2018 Form 10-Q again disclosed the$2.194 million loan, the $100,000

loan, and the $669,000 loan while concealing the identities of Niebur and Hough and their statuses

as related-party    borrowers. As to Hough's loans for $100,000 and $669,000, the Ql 2018 Form

10-Q stated they were "fully settled." The    Ql 2018 Form 10-Q       also disclosed a new loan for $5.25

million without disclosing Hough's identity and status       as a related-party borrower.


           I49.    Although the    Ql   2018 Form 10-Q disclosed related-party transactions, the

Individual Defendants concealed the October 2015 and March 2017 loans to Niebur, and also

omitted the July 2017 , August 2017, and January 2018 loans to Hough in those disclosures.

           150.    Though the Company failed       to    disclose   its loans to Niebur and Hough        as


related-party transactions in accordance with ASC 850-10-50, the Individual Defendants falsely

represented the    Ql   2018 Form 10-Q's compliance with GAAP. In particular, the           Ql   2018 Form

10-Q stated:

           The accompanyrng consolidated financial statements for the periods ended March
           31,2018 and2017 are presented on the accrual basis of accounting in accordance


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         with accounting principles generally accepted in the United States of America
         ("GAAP")    and include the accounts of the Company and the Operating Partnership.

         151.     Further, the   Ql   2018 Form 10-Q affirmed that the Company's internal control over

financial reporting was effective and that there were no changes in the Company's internal control

that materially affected, or were reasonably likely to materially effect, the Company's internal

control over financial reporting. The        Ql 2018 Form   10-Q contained the signed certifications   of

defendants Pittman and Fabbri pursuant to SOX attesting to the accuracy of the reported financial

information, the disclosure       of any material    changes   to the Company's internal control over

financial reporting, and the disclosure of all fraud.

                         REASONS THE STATEMENTS WERE IMPROPER

         I52.     The statements referenced above were each improper when made because they

failed to disclose and misrepresented the following material, adverse facts, which the Individual

Defendants knew, consciously disregarded, or were reckless in not knowing that:

                  (a)     the tndividual Defendants were using the FPI Loan Program to issue loans

to related parties, not "third-party farmers";

                  (b)     these related-party loans were issued without properly vetting the

borrower's ability to pay, were not negotiated at arm's-length, reflected more lenient underwriting

standards than those      with third parties, and presented increased risks beyond those traditionally

associated with being a lender;

                  (c)      the Company failed to disclose the loans to Niebur and Hough as related-

party transactions, as was required;

                   (d)     Farmland Partners was inflating its revenue and earnings by issuing these

loans to related-party tenants who would then circle the money back to the Company in the form

of rent paynent; and


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                 (e)    as a result of the foregoing, Farmland Partners' statements concerning the

Company's financial results and future prospects, compliance with GAAP, and effectiveness of its

internal controls were improper.

                                                                        IS   REVEI,ATION
           SUSPICIOUS DEP ARTURES PRIOR TO THE TR

          153.   While making the dubious loans and improper statements detailed above, several

defendants suspiciously resigned from their positions at Farmland Partners, including the former

President, defendant Cowan, and four former directors, defendants Conrad, Boardman, Sarff, and

Gimbel. In the midst of these departures, the Company also inexplicably dismissed its public

accounting firm.

          154. On August 28,2017,        defendant Conrad resigned from the Board, reducing the

number of Farmland Partners' directors from eight to seven. On September 1,2017, the Company

filed   a Current Report on   Form 8-K with the SEC announcing defendant Conrad's resignation that

explains little about his departure other than it was "due to personal reasons and was not the result

of any disagreements with the Company."

          155.   On December 5,2017, defendant Boardman resigned from the Board, further

reducing the number of Farmland Partners' directors from seven to six. On December 8,2017,the

Company filed a Current Report on Form 8-K with the SEC announcing defendant Boardman's

resignation that similarly provides little explanation about his departure other than it was "due to

his desire to devote more time to his other business interests and was not the result of any

disagreements with the Company."

          156.   Less than a month later, on January 18, 2018, defendant Sarff resigned from the

Board. On January 23,2018, the Company filed a Current Report on Form 8-K with the SEC

announcing defendant Sarffs resignation that provided an undetailed explanation for his departure,

stating it "was due to his desire to devote more time to his other business interests and was not the

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result of any disagreements with the Company." The Form 8-K concurrently announced defendant

Good's appointment to the Board to   filI defendant Sarffs vacancy.

       I57.   On March 13,2018, the Company filed a Current Report on Form 8-K announcing

that it had dismissed its public accounting firm, PricewaterhouseCoopers LLP ("PwC") on March

10, 2018. The Company gave no reason for its dismissal of PwC.

       158.   A few days later, on March 20,2078,the Company filed        a Current Report on   Form

8-K with the SEC announcing defendant Gimbel's decision not to stand for reelection to the Board

upon his term's expiration at the Company's 2018 Annual Meeting of Stockholders. Farmland

Partners again explained the resignation was "due to his desire to devote more time to his other

business interests and [was] not the result of any disagreement with the Company."

       159.   Less than a month later, on   April 13, 2018, Farmland Partners filed a Current Report

on Form 8-K with the SEC announcing the Company's entry into a separation agreement with

defendant Cowan, explaining that he     will   "retire from his role as President of the Company

effective May 31,2018." The Form 8-K stated his "decision to retire       ... [was] not the result of

any disagreement with the Company."

       160. Although Farmland Partners maintains that they were not "the result of any
disagreement with the Company," the resignations         of   defendants Conrad, Boardman, Sarff,

Gimbel, and Cowan remain suspect given that they occurred on the cusp of the Company's January

2018 loan to Hough in the amount of $5.25 million, which more than doubled the money loaned

under the FPI Loan Program from $4 million to $9.25 million.

                                  THE TRUTII EMERGES

       161. On July lI,       2078, the truth about the Company's related-party loans and

questionable accounting maneuvers emerged, as Rota Forfunae published a well-documented and

extensive report detailing the researcher's findings on Farmland Partners and the FPI Loan

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Program. The Rota Fortunae Report revealed for the first time that just two individuals, related-

parties Niebur and Hough, received over 70o/o of the total money issued through the FPI Loan

Program. The Rota Fortunae Report further exposed that several of these loans had defaulted,

been renegotiated, wrapped into new loans, or were threatened by Niebur's bankruptcy. In

particular, the Rota Fortunae Report provided:

          White FPI discto,ses ,ls loans, it has neglected to disclose that over 70% of its
          loans (in dollars) have been made to Ryan Niebur and Jesse Hough (both FPI
          tenants and members of FPI's management team). Ryan Niebur is a now-
          bankrupt tenant (not disclosed), who after defaulting on an FPI loan (not disclosed)
          was bailed out when FPI acquired his properties, falsely reported the purchase as a
          loan and then lent him an additional $61,800 the day after he signed a lease with
          FPI for $61,750.

          Jesse Hough is Paul Pittman's   long-time business partner, the co-founder of FPI and
          an FPI consultant. In July 2017, FPI made a loan secured by one of Hough's
          properties, which FPI then acquired two weeks before the loan matured and leased
          back to him just days before FPI lent him another $5.25 Million, this time as the
          president of an inactive entity that corporate records show he has no affiliation with,
          and that is secured by land that deed records show he does not own.

                                                {<**



          Niebur's [first] loan remained unchanged until the 1Q2017 10-Q $g. 16) when FPI
          disclosed that it "renegotiated" the loan while simultaneously entering into a new
          $2.194 Million loan ... collateralizedby two additional properties .... [A]nd in
          which the deed specifically states that Niebur was in default on the loan and
          obligated to pay a remaining balance....

          162. In questioning Farmland Partners'rationale       for issuing loans to borrowers despite

their apparent inability to pay, the Rota Fortunae Report revealed the likelihood of the Company

playing "accounting games" to artificially inflate its revenue. The report explained that Farmland

Partners accomplished the revenue inflation by making loans to Niebur and Hough, both of whom

were related-party tenants who circled the money back to the Company, which Farmland Partners

then reported as rent and interest revenue. Specifically, the Rota Fortunae Report stated:

          When we started looking into FPI, we found it was playing classic accounting
          games like capitalizingpart of the expense to lease CEO Paul Pitfinan's personal

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        jet and excluding farms from its same-property rent number. But it was not until
         we reviewed hundreds of deed records in dozens of counties across the country that
         we came to believe that FPI faces a significant risk of insolvency.

         Our research leads us to believe that FPI is using its mortgage-lending program
         to arfficially increase revenues by making loans to related-parQt tenants who
         roandtrip the cash back to FPI us rent and interest revenue. We believe these
         loans lack economic substance because, whenever they come due, FPI happens to
         acquire the property collateralizing the loan, like a bank buying a house at full price
         when the mortgage matures.

         And the transactions follow apattem, whereby FPI makes a loan against a property,
         acquires the property around the time the loan matures, enters into a lease with the
         borrower, and, days later, lends more money to the borrower/new tenant. In total,
         we believe vp to 6%o of 2017 revenues and3l0%o of 2017 net income could be the
         result of transactions that are just moving money from one side of the desk to the
         other.


         163.     The Rota Fortunae Report fuither speculated an imminent cut in Farmland Partners'

dividend, stating, "[w]ith only $19 Million in cash, we think FPI will not only be forced to cut its

dividend but also faces a significant risk of insolvency."

          164.    Upon these revelations, the Company's common stock plunged $3.37 per share, or

nearly 39o/o,to close at $5.28 per share on July 11,2018, compared to the previous trading day's

closing of $8.65 per share. The Company's preferred stock also took a hit of $6.42 per share, or

26Yo,   to close at $ 18.15 per share on July   Il,   2018, compared to the previous day's closing   of

$24.57 per share. In total, Farmland Partners'market capitalization of common and preferred stock

plunged more than $110 million and $38 million, respectively, in a single day.

          165.    On July 17,2018, in an effort to control the damage resulting from the Rota

Fortunae Report, Farmland Partners issued a press release purporting to refute the report's claims.

In the press release, Farmland Partners asserted that both Niebur and Hough are not related parties

because neither had any "decision-making      authority." In particular, the press release stated:




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       Neither Ryan Niebur nor Jesse Hough sre 'trelated partiestt as defined by
       applicable rules of the SEC and the Financial Accounting Standards Board
       ('FASB) and were not trelated parties' at the time of any loan made to them.
                                               t*4<


       Ryan Niebur was and is a tenant of the Company and he worked part-time for the
       Company as a farm manager from September 2015 to Decembet 2017' Ryan
       Niebur was never a member of the Company's senior management team and never
       had corporate decision-making authority. He is not a "related party" under
       applicable SEC and FASB rules. We continue to believe the loans made to Ryan
       Niebur are good loans and will perform well for the Company.

       Jesse Hough was not a "related party" under applicable SEC and FASB rules at the
       time loans were made. Mr. Hough is a tenant and a borrower of the Company.
       From April 16, 2014 throu,gh April 16, 2018, Mr. Hough was a consultant of the
       Company. He was a business partner of FPI's Chairman and CEO, Paul Pittman,
       prior to the Company's initial public offering and during the first couple of years
       subsequent to the initial public offering. During the period Mr. Hough and Mr.
       Pittman remained business partners, the Company appropriately disclosed Mr.
       Pittman's relationship with Mr. Hough under the related party transactions
       disclosures in the Company's public filings (see, for example, "Note 4-Related
       Party Transactions" on pageF-17 of the Company's Annual Report on Form 10-K
       for the year ended December 31,2015). Mr. Hough never had decision-making
       authority over any matters or transactions involving the Company.

        166.   Under ASC 850, however, a related party is not defined as one with "decision-

making authority," but rather one who "can significantly influence the management or operating

policies." In the Securities Class Action, Judge Ebel noted and applied this appropriate standard

in denying the defendants'motion to dismiss, finding that the plaintiffs sufficiently alleged "that

Niebur and Hough were related parties during the relevant times."

        167.   Also in the July 17, 2018 press release, the Individual Defendants declared their

belief that "the loans made to Ryan Niebur are good loans and will perform well for the Company."

The Individual Defendants knew this was not true, as revealed by Niebur's bankruptcy records.

Specifically, on May 24, 2018, affiliates of Farmland Partners filed an objection to Niebur's

proposed bankruptcy plan     of reorganization, which     sought to assign the Company's farmland

leases to another entity controlled by   Niebur. Farmland Partners objected to the assignment based

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in part on the assertion that the debtors-Niebur, his wife, and Niebur's company-failed to

demonstrate their ability to satisfu the payments under the proposed plan. The objection-filed

less than two months prior to the press release on May 24,2018-shows that the Individual

Defendants knew Niebur's loans would not perform well for the Company.

          168.    On July 18, 2018, Seeking Alpha published a report authored by "Beyond Saving"

titled "Farmland Partners: The Smell Test." Beyond Saving argues that-regardless of whether

Farmland Partners was obligated         to disclose the related-party loans and      regardless   of   the

magnitude-the Company should have disclosed Niebur's bankruptcy, as most REITs                    do. In
particular, Beyond Saving wrote:

          There are some issues that were not addressed by FPI, such as the Niebur
          bankruptcy. Niebur is a tenant and a borrower under the lending program, and FPI
          has counsel representing them in the bankruptcy. Even if the amounts at risk are
          minimal and the risk of either the leases or the loans being modified are slim, a
          bankruptcy is something that should be disclosed. Even if the tenant/borrower
          remains unnamed, I think shareholders should be informed. I do not make any
          claims as to whether or not FPI had a legal obligation to disclose it, but most REITs
          do disclose tenant bankruptcies even when they are not expected to impact rent.
          Hopefully, FPI will reconsider some oftheir disclosures and will seek to have better
          clarity moving forward.

          169.     Shortly after the Rota Fortunae Report, on July 24, 2018, the Company further

reacted by     filing the Defamation Lawsuit against those involved with writing and distributing the

report. The Defamation Lawsuit alleges the following claims: (i) defamation; (ii) disparagement;

(iii)   intentional interference with prospective business relations; (iv) unjust enrichment; (v)

deceptive trade practices; and (vi) civil conspiracy.

          170. Less than one month after the Rota Fortunae Report,       on August 8, 2018, Farmland

Partners issued a press release announcing poor financial results for the second quarter ended June

30, 2018. The press release reported a net loss of $2.3 million compared to a net income of $0.8

million during the    same period the previous   year. Further, the press release disclosed a cut in the


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Company's quarterly dividend, as the Rota Fortunae Report had predicted. Specifically, Farmland

Partners cut the dividend to $0.05 per share of common stock, representing a slash of more than

50olo, compared    to the Company's previous dividend of $0.1275 per share. Moreover, Farmland

Partners lowered its 2018 earnings guidance by $0.10 per share to range of $0.30-0.34 per share.

Finally, the press release announced the Board had authorized an additional $30 million in

repurchases     of Farmland Partners' common stock or Series B Perpetual Preferred Stock, to be

financed by asset sales and dividend cuts.

         17I.     The next day, on August 9,2018, the Company held an earnings call with analysts

and investors to discuss Farmland Partners' second quarter 2018 results. Throughout the call,

defendant Pittman blamed the Company's poor performance and dividend cuts on the Rota

Fortunae Report. In addition to the claimed "lost revenue for new business ventures," defendant

Pittman also blamed the report for "additional costs and expenses, including litigation expenses."

Thus, defendant Pittman failed to accept his responsibility for failing to disclose the Company's

related-party transactions and, at the same time, informed stockholders that the Company would

now bear the cost of litigating against Rota Fortunae. In particular, defendant Pittman stated:

         I would now like to touch briefly on the misleading anonymously written Seeking
         Alpha report. We issued a detailed press release refuting the allegations, so I will
         not go through the Seeking Alpha report point by point. We have no intent on
         dwelling on this issue, we are instead focused on what it means for our shareholders
         and what we can do. We will pursue litigation and cooperate with law enforcement
         to see that justice is done undto attemptto recoup moneyfor our shareholders.
         We are also instituting an employee retention plan for the nonexecutive members
         of our team. When your stock declines, like ours did, it creates many short-term
         issues, but it also creates significant opportunity.

         In the short term, we will face lost revenue for new business ventures, decreased
         growth in acquisitions and capital expenditures, and additional costs and
         expenses, including litigation expenses, all resultingfrom the misleading Seeking
         Alpha article.

         With this short-term issue, we also find opportunities to benefit our shareholders
         by reinvesting in our company by buying back our shares. We intend to repurchase

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         discounted shares, which allows us to increase the ownership of our farms at deep
         discounts for the benefit of all shareholders.

         172.     On August 13,2018, Seeking Alphapublished another report authored by "Beyond

Saving" titled "Farmland Partners: Opacity." The report challenges defendant Pittman's accusation

that the Rota Fortunae Report caused the Company's revenue guidance reduction and dividend cut.

Beyond Saving opined that both were likely to occur regardless of the report given the Company's

poor perforrnance. Beyond Saving also doubted defendant Pittman's assertion that "lost revenue

opportunities from planned joint ventures" contributed to the reduction in 2018's earning guidance,

questioning the likelihood any potential deal both closing and generating revenue within the

second and third quarters of 2018, a short period of    time. In particular, Beyond Saving wrote:

         The big change is revenue, coming in $2 million lower than projected. In the
         conference call, Mr. Pittman suggested there was a JV deal that fell apart due to the
         article and ensuing price drop. It makes sense that such a thing could happen,
         especially if FPI was intending to contribute equity to the deal. What confuses me
         is how annual guidance could have been counting on such a deal for revenue when
         it can't be reasonably expected to close until late in Q3 or Q4.

          173.    Primarily, Beyond Saving citicizedFarmland Partners'consistent "opacity," noting

that the Company "routinely has poor transparency on numbers that are important to investors."

Beyond Saving points out that if the Individual Defendants had been transparent upfront, the Rota

Fortuna Report's impact on the Company would have been far less dramatic. Specifically, Beyond

Saving stated:

         If I have to summari ze my criticisms of FPI in one word, it would be "opacity". As
         I discussed in previous articles, FPI routinely has poor transparency on numbers
         that are important to investors.

         Basic things like leasing spreads, acquisition cap rates, disposition cap rates and
         tenant defaults have inadequate disclosures. Rota Fortunae demonstrated how
         applyng a story to small pieces of factual information can lead to a very negative
         result. If FPI had been more transparent up front, Rota's allegations likely would
         have had much less impact. The only thing the market hates more than bad news is
         the unknown.



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         FPI should take this opportunity to consider being more open with investors.
         Provide same-store numbers in a way that is clear. Provide information on leasing
         trends, which sections of the portfolio are strengthening, and which are weaker?
         When properties are acquired, what are the initial leases? How many tenants are
         defaulting? Investors shouldn't find out about defaults and bankruptcies from an
         anonymous contributor on Seeking Alpha.

         Providing information in a clear and digestible manner will go a long way towards
         helping rebuild investor confidence in management.

         174. On November         6,2018, the Company hosted an earnings call with analysts and

investors to discuss Farmland Partners'third quarter 2018 results. During his opening statement,

defendant Pittman touted the Company's continued effort "to achieve justice and financial recovery

for [its] shareholders for the damage caused by ... [the] Rota Fortunae [Report]." However, these

efforts to rebut the Rota Fortunae Report remain unsuccessful. Farmland Partners' common stock

continues to dwell in the $6 range, not far from where it was after the report was published on July

11,20t8.

          175.    The Individual Defendants' fruitless endeavor to rebut the Rota Fortunae Report

have thus far only increased the costs and damages borne by the Company. Farmland Partners'

Annual Report on Form 10-K for the year ended December 31,2018, filed with the SEC on March

15, 2019, discloses legal and accounting expenses of $2.33 million, representing over a 60Yo

increase from the previous       year. Farmland Partners explained these increased      expenses were


"primarily attributable to increased costs related to litigation for the Rota Fortunae matter."

          TIIE INDIVIDUAL DEFENDANTS CAUSE FARMLAND PARTNERS TO
                 REPURCHASE ITS OWN STOCK AT INFLATED PRICES

          176.    In breach of their duties to Farmland Partners, and in violation of section l0(b)   of

the Exchange Act and SEC Rule 10b-5, defendants Pittman, Downey, Bartels, Glauber, Good,

Sarff, Conrad, Gimbel, and Boardman caused or approved the Company's repurchase of 1.9 million

shares of its stock at   artificially inflated prices. Despite knowingly or recklessly disregarding that


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the Company's stock price was inflated due to the improper statements detailed herein, the

Individual Defendants either directed or permitted the Company to materially overpay for its own

stock through the repurchases described below.

       177.       The Company's 2017 Form 10-K explains that on March 15,2011, the Board

approved   a   program to repurchase up to $25 million in shares of Farmland Partners' common stock.

The 2OI7 Form 10-K discloses that the Individual Defendants "expect to fund repurchases under

the program using cash on fFarmland Partners'] balance sheet'"

       178.       Between August 2011 and March 2018, while concealing their risky related-party

loans and general mismanagement, the Individual Defendants caused or allowed Farmland

Partners to pay over    $   16.5   million to repurchase its stock for an average price of $8.69 per   share.


In particular, Farmland Partners made the following repurchases:

                                                           Average
                                        Repurchased        Price Per        Approximate
                     Period               Shares            Share          Aqgregate Cost

                     Aus-17                274,000             $8.54          $2,339,960
                     Sep-17                567,000             $9.00          $5.103.000
                     Oct-17                279,000             $9.15          $2,552.850
                     Mar-18                780,029             $8.36          $6.521.042
                                          1.900.029                          $16,516,852

       ll9.       Through these repurchases, the Director Defendants falsely signaled to the market

that they believed Farmland Partners' shares were undervalued and that the repurchases were the

best use of the Company's cash. Because share repurchases lower the number of outstanding

shares, the repurchases also increased the Company's eamings per share, return on equity, return

on assets, and other metrics. Collectively, these actions artificially inflated Farmland Partners'

share price    with each repurchase, and increased the price for each subsequent repurchase.

        180.      As of December 31,2018, Farmland Partners had $16.9 million of cash and cash

equivalents compared to $53.5 million at December 31, 2017, and $47 .2 million at December 31,

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2016. The above repurchases of over $16.5 million worth of Farmland Partners' stock thus

substantially reduced the Company's cash on hand.

         181.      When the truth about the Individual Defendants' risky related-party loan scheme

and general mismanagement emerged, Farmland Partners' common stock plummeted to $5.28 per

share. The Company's common stock has failed to recover from the Rota Fortunae Report's

corrective disclosures and continues to languish in the $6 range. As a result, the 1.9 million shares

the Company repurchased between August 2017 and March 2018 for $16.5 million were only

worth approximately $10.45 million, or 63oh, of what Farmland Partners paid for them.

                              DAMAGES TO FARMLAND PARTNERS

          I82. As a result of the Individual Defendants' improprieties,             Farmland Partners

disseminated improper, public statements concerning the FPI Loan Program, related-party

transactions, and future financial prospects. These improper statements have devastated Farmland

Partners' credibility, as reflected by the Company's common stock plummeting by near'ly 39Yo

upon the Rota Fortunae Report's publication, erasing more than $110 million                 in   market

capltalization in a single day. Even over a year later, the Company's common stock continues to

languish in the $6 range, close to where it was on July 11, 2018.

          183.     Farmland Partners' performance issues also damaged its reputation within the

business community and in the capital markets. In addition to price, Farmland Partners'current

and potential investors and customers (i.e., tenants) consider a company's trustworthiness, stability,

and ability to evaluate known       risks. Investors are less likely to invest in   companies that use

corporate assets to secretly enter into risky transactions that favor related parties. Investors are

also less     likely invest in companies that disseminate improper statements and fail to comply with

their own internal protocols and external regulations. Farmland Partners' ability to raise equity



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capital or debt on favorable terms in the future is now impaired. In addition, the Company stands

to incur higher marginal costs of capital and debt because the improper statements and misleading

projections disseminated by the Individual Defendants have materially increased the perceived

risks of investing in and lending money to the Company.

         184.     Further, as a direct and proximate result of the Individual Defendants' actions,

Farmland Partners has expended, and       will continue to expend, significant   sums of   money. Such

expenditures include, but are not limited to:

                  (a)    costs incurred from the Company's issuance of related-party loans;

                  (b)    costs incurred from defending and paying any settlement in the Securities

Class Action;

                  (c)    costs incurred from initiating and pursuing litigation against those involved

with the Rota Fortunae Report;

                  (d)    excessive sums paid to repurchase Company stock; and

                  (e)    costs incurred from compensation and benefits paid to the defendants who

have breached their duties to Farmland Partners.

                   DERIVATIVE AND DEMAI\D REFUSED ALLEGATIONS

          185. Plaintiff   brings this action derivatively in the right and for the benefit of Farmland

Partners to redress injuries suffered, and to be suffered, by the Company as a direct result         of

violations of securities law, breach of duty, waste of corporate assets, and unjust enrichment,      as


well   as the aiding and abetting thereof, by the   Individual Defendants. Farmland Partners is named

as a nominal defendant solely     in a derivative capacity. This is not a collusive action to confer

jurisdiction on this Court that it would not otherwise have.




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         186.        Plaintiff will adequately and fairly represent the interests of Farmland Partners in

enforcing and prosecuting its rights.

         187.        Plaintiff has continuously been a Farmland Partners stockholder since November

2016.

         188.        The current Board of Farmland Partners consists of the following five individuals:

defendants Pittman, Downey, Bartels, Glauber, and Good.

         189.        Boards of directors have an affirmative duty to conduct a reasonable, objective, and

good faith investigation into the allegations in a stockholder litigation demand, and to determine

on the basis of that investigation whether the demand's factual allegations and legal claims have

merit and whether pursuing the claims in litigation would be in the company's best interests.

Boards that         fulfiII their duty to investigate a     stockholder's litigation demand reasonably,

objectively, and in good faith, and to act reasonably on the basis of the investigation, retain the

protections of the business judgment rule's presumption that they acted independently, on a

reasonably informed basis, and in good faith. Boards that fail to do so may not avail themselves

of this presumption, and the stockholder's litigation demand will be deemed to have been
wrongfully refused.

          190.       On   April 25,z}lg,Plaintiffs counsel sent Plaintiffs Demand to the Board pursuant

to Maryland law, demanding the Board to investigate the foregoing facts and claims, and to

address, remedy, and commence proceedings against the corporate fiduciaries responsible for

damaging Farmland Partners.3 In particular, the Demand explained that Plaintiff was concerned




3
    A true and correct copy of the Demand is attached hereto as Exhibit A.


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with the       damages caused   by the Company's dubious related-party loans and the improper

statements detailed herein.

         191.     Plaintiff demanded that independent and disinterested directors, with the assistance

of independent outside counsel, undertake an investigation of the wrongdoing detailed in the

Demand. The Demand specified the investigation should be sufficient to determine five matters:

(i) which current or former Company           employees, officers, directors, andlor agents were

responsible for, had knowledge of, andlor played an active role         in the Company's improper

disclosures; (ii) which current or former Company employees, officers, directors, andlor agents

were responsible for, had knowledge of, and/or played an active role in the Company's failure to

comply with applicable laws;        (iii) which   current or former Company employees, officers,

directors, andlor agents were responsible for, had knowledge of, and/or played an active role in

the oversight of the foregoing; (iv) the extent to which the current or former Company employees,

officers, directors, and/or agents benefited as a result of the breaches of duties owed to the

Company and its stockholders; and (v) the extent to which Farmland Partners was damaged by the

foregoing.

          192. On May 23,2019, James J. Beha II ("Beha")        of the law firm Morrison & Foerster

LLP sent a letter responding to the Demand.a Importantly, Beha is also representing Farmland

Partners and defendants Pittman and Fabbri in the Securities Class       Action. In his letter,   Beha

asked for "evidence of [Plaintiffs] continuous stock ownership of FPI stock from May 9,2017,

through the present," claiming that "the Board needs to confirm [Plaintiffs] status as a shareholder




a                                                                              Exhibit B.
    A true and correct copy of the May 23,2019letter is attached hereto   as



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for the relevant time period before assessing the appropriate steps,    if   any, to take in response to

the Demand."

          lg3.    Beha's letter demonstrates that he and the Board had already prejudged the Demand

and were only concerned with the potential liability the Board and management faced, not with

investigating the Demand's underlying facts. Although Maryland law requires demands to provide

the stockholder's name, it does not require proof of the stockholder's continuous stock ownership.

As such, Beha's request that Plaintiff establish standing to bring a derivative suit (i.e., showing

continuous stock ownership) in order to pursue a litigation demand is without legal basis. Beha's

baseless request demonstrates that he and the Board were preoccupied with potential            liability and

Plaintiffs derivative standing rather than their obligations under Maryland law to conduct                a


reasonable, objective, and good faith investigation into the Demand'

          lg4.    Nevertheless, on May 29,2019, Plaintiffs counsel promptly responded to Beha by

sending a letter furnishing the requested proof of Plaintiffs continuous stock ownership.s The

letter noted that while Plaintiffs counsel disagreed such proof was required, it was nonetheless

being provided to avoid needless dispute and delay.

          195.    Having received no reply from Beha or the Board despite sending them the

requested proof, on   July l},2}lg,Plaintiffs counsel sent a letter to Beha seeking an update.6 The

letter asked what steps, if any, the Board had taken in response to the Demand. Specifically,

Plaintiffs counsel requested information concerning the following: "(a) whether the Board               has


initiated an investigation; (b) whether the Board formed a special committee to consider the




s                                                                                 Exhibit C.
    A true and correct copy of the May 29,2019letter is attached hereto      as

6
    A true and correct copy of the July 10, 20lg letter is attached hereto   as   Exhibit D.


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Demand; (c) whether the Board (or any committee of the Board tasked with investigating the

Demand) has retained independent counsel; and (d) any other steps the Board has taken in response

to the Demand." Plaintiffs counsel also detailed additional facts supporting Plaintiffs concerns

that the officers and directors of Farmland Partners breached their fiduciary duties. ln particular,

Plaintiffs letter explained that on June 18,2019, Judge Ebel denied the Securities Class Action

defendants' motion to dismiss. The letter explained that, in doing do, Judge Ebel found that the

investors adequately alleged-under the heightened pleading standards of the PSLRA-that the

defendants made materially false and misleading statements and omissions concerning related-

party loans and due diligence for the FBI Loan Program. Plaintiffpointed out that the denial leaves

Farmland Partners exposed to liability for the wrongdoing of its fiduciaries and further bolsters the

allegations detailed in the Demand.

          196.    On August 1,2019 fiust over three months after the Demand was issued), Beha

wrote a letter to Plaintiffs counsel informing Plaintiff that the Board had rejected the Demand (the

"Rejection Letter").7 The Rejection Letter evidences an utter lack of good faith and a complete

failure to conduct an investigation into the Demand's allegations, let alone any reasonable

investigation. Even if the required reasonable investigation had been undertaken (which it had not

and almost certainly could not have been in a mere three months), the Rejection Lcttcr shows the

Board lacked independence in deciding to reject Plaintiffs Demand insofar as it was tainted by

Beha and made without isolating conflicted members of the Board.

          I97.    First, the Rejection Letter begins with a premature evaluation that the Demand's

allegations "appearf] to be based entirely on allegations from a July 11, 2018 article fthe Rota




7                                                                             Exhibit E
    A true and correct copy of the Rejection Letter is attached hereto   as



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Fortunae Report]." This is not so. Although the Demand discusses the Rota Fortuna Report and

the allegations overlap in part, several of the Demand's allegations are entirely unique. In

particular, the Demand detailed potentially improper statements in the Company's 2015 and2017

Proxy Statements. The Demand also contains unique allegations related to the Company's

statements conceming: (i) its compliance with GAAP;        (ii) the effectiveness of its internal controls;

and   (iii) its certifications pursuant to SOX. The foregoing allegations-which were           based on a


thorough investigation conducted by Plaintiffs counsel that went beyond the Rota Fortunae Report

and included scouring through public records and the Company's SEC filings-were neither

mentioned in the Rota Fortunae Report nor considered by the Board. The Board did not consider

these allegations in rejecting    Plaintiffs Demand and therefore failed in its duty to investigate the

Demand's allegations.

         198.        The Rejection Letter openly acknowledges the Board's failure to investigate the

Demand's allegations, stating that because the Board has already investigated the Rota Fortuna

Report and the Securities Class Action and "concluded that the allegations are without merit....

[T]he Demand provided no basis to re-consider its previous conclusion." However, even if the

Board had concluded these allegations were without merit, there was no basis for the Board to

conclude that the Demandts allegations "are without merit," especially given that the Rota

Fortunae Report and Securities Class Action did not address several points raised in the Demand.

             199. Even if the Demand lacked unique allegations     such that merit of the Rota Fortunae

Report could likewise determine the merit of the Demand, the Rejection Letter demonstrates a

complete lack of due care and good faith in the Board's purported investigation into the Rota

Fortunae Report. The Rejection Letter provides that "details" conceming the Board's conclusion

that the Rota Fortunae Report's allegations are without merit can be found in the Company's press



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releases "issued on July 11 and 17,2018." These press releases were issued either on the same

day as or only six days after the Rota Fortunae Report, hardly enough time to conduct a reasonable

investigation into the report and barely enough time to cl":aftawell-constructed denial. These press

releases make no mention         of any investigation   whatsoever because the Board never truly

conducted one. Instead, the Board defends that Farmland Partners was a victim of a "short-and-

distort" scheme, a point which the Rejection Letter reiterates. However, even if Farmland Partners

was the victim of a short-and-distort attack, that does not mean there was no wrongdoing. The

Board's determination that Farmland Partners was the victim of a short-and-distort attack in just

six days, without any investigation whatsoever into potential breaches of fiduciary duty or

wrongdoing, does not abrogate its duty to investigate the Demand's allegations. The Board thus

failed in its legal obligation to investigate the Demand.

          200.     Further, the argument that the Securities Class Action's allegations are "without

merit" is false as it is absurd. The Board knew that Judge Ebel had already determined the merit

of those allegations in denying the Securities Class Action defendants'motion to dismiss, and he

did so even under heightened pleading standards. The denial of the motion to dismiss in the

Securities Class Action was not properly considered by the Board, showing that its rejection of the

Demand was unreasonable and not in good faith.

          201.     Additionally, the Board's consideration of the Demand was not objective and was

tainted by virtue of its reliance on Beha, who lacked independence. Beha represents Farmland

Partners and the defendants in the Securities Class Action, including defendants Pittman and

Fabbri. As such, he has committed himself to zealously arguing that many of the facts underlying

the Securities Class Action are without merit. Beha is aware that his continued representation    of

the Company and any future representation depends upon staying in the good graces of defendants



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Pittman and Fabbri. Accordingly, Beha could not, and did not, recommend pursuing the Demand

because he knew that defendants Pittman and Fabbri were      likely targets.

          202.     The Board was well aware that Beha represents Farmland Partners and defendants

Pittman and Fabbri in the Securities Class Action. Yet, the Board failed to retain independent

counsel so that     it could conduct a reasonable and objective investigation into the Demand.        The

Board also failed to isolate tainted directors from decision-making ability, namely defendant

Pittman and the members of the Audit Committee, defendants Downey, Bartels, and Glauber-

each of whom faces liability for approving the improper statements detailed herein. Out of the

five current members of the Board, the only possible independent director remaining                   was


defendant Good. Accordingly, the Board's refusal of Plaintiffs Demand was not the result of an

independent and fully informed business decision made         in good faith.       Rather,   it is entirely
consistent with a Board that was concerned with its own   liability   and protecting those of its friends,


the officers of the Company. As such, the Board's refusal of the Demand was wrongful, was not

reasonable, was a decision made in bad faith, and is not entitled to the protections of the business

judgment rule and likewise warrants that this action proceed.

          203.     Plaintiff has not made any demand on the other stockholders of Farmland Partners

to institute this action since such demand would be futile and useless for at least the following

reasons

                   (a)    Farmland Partners is a publicly held company with over thirty-one million

shares of common stock outstanding and thousands of stockholders;

                   (b)    making a demand on such a number of shareholders would be impossible

for Plaintiff who has no way of finding out the names,            addresses,     or phone numbers of

stockholders; and



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                     (c)    making a demand on stockholders would force Plaintiff to incur excessive

expenses, assuming all stockholders could be individually identified.

                                                  COUNT     I
 Against the Individual Defendants for Violation of Section 10(b) of the Exchange Act and
                           Rule 10b-5 Promulgated Thereunder

         204. Plaintiff       incorporates   by   reference and realleges each and every allegation

contained above, as though fully set forth herein.

         205.        During the period of wrongdoing, the Individual Defendants disseminated or

approved false or misleading statements about Farmland Partners, which they knew or recklessly

disregarded were false or misleading and were intended to deceive, manipulate, or defraud. Those

false or misleading statements and defendants' course of conduct artificially inflated the price   of

the Company's common stock.

         206.        While the price of the Company's common stock was inflated due to the false and

misleading statements made by the Individual Defendants, the Director Defendants caused the

Company to repurchase shares of its own cofilmon stock at prices that were artificially inflated due

to defendants' false or misleading statements. The Director Defendants engaged in a scheme to

defraud Farmland Partners by causing the Company to repurchase $16.5 million in shares of its

stock at artificially inflated prices.

         207.        The Individual Defendants violated section lO(b) of the Exchange Act and SEC

Rule 10b-5 in that they: (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

statements of material facts or omitted to state material facts necessary to make the statements

made, in light of the circumstances under which they were made, not misleading; and/or (iii)

engaged       in   acts, practices, and a course of business that operated as a fraud or deceit upon




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Farmland Partners in connection with the Company's purchases of its stock during the period          of

wrongdoing.

         208.        The Individual Defendants, individually and collectively, directly and indirectly,

by the use of means or instrumentalities of interstate commerce or of the mail: (i) engaged and

participated       in a continuous   course   of conduct that operated as a fraud and deceit upon the

Company; (ii) made various false or misleading statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; (iii) made the above statements intentionally or with           a


severely reckless disregard for the truth; and (iv) employed devices and artifices to defraud in

connection with the purchase and sale of Farmland Partners stock, which were intended to, and

did: (a) deceive Farmland Partners and its stockholders regarding, among other things, the FPI

Loan Program, related-party loans, financial results, and future prospects; (b) artificially inflate

and maintain the market price of Farmland Partners stock; and (c) cause Farmland Partners to

purchase the Company's stock at artificially inflated prices and suffer losses when the true facts

became       known. Throughout the period of wrongdoing, defendants were in possession of material,

nonpublic information regarding the above.

             209.    The Individual Defendants were among the senior management and the directors

of the Company, and were therefore directly responsible for, and are liable for, all improper

statements made during the period of wrongdoing, as alleged above.

             210.    As described above, the Individual Defendants acted with scienter throughout the

period of wrongdoing, in that they acted either with intent to deceive, manipulate, or defraud, or

with severe recklessness. The misstatements and omissions of material facts set forth in this

Complaint were either known to the Individual Defendants or were so obvious that defendants



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should have been aware of them. Throughout the period of wrongdoing, defendants also had a

duty to disclose new information that came to their attention and rendered their prior statements to

the market materially false or misleading.

        2ll.      The Individual Defendants' false or misleading statements and omissions were

made   in connection with the purchase or sale of the Company's stock by Farmland Partners.

        212.      As a result of the lndividual Defendants' misconduct, Farmland Partners has and

will suffer   damages in that it paid artificially inflated prices for its own common stock and suffered

losses when the previously undisclosed facts relating to the wrongdoing was disclosed.

        213.      Farmland Partners would not have purchased these securities at the prices it paid,

or at all, but for the artificial inflation in the Company's stock price caused by the Individual

Defendants' false or misleading statements.

        214.      As a direct and proximate result of the Individual Defendants' wrongful conduct,

the Company suffered damages in connection with its purchases of Farmland Partners' stock during

the period of wrongdoing. By reason of such conduct, defendants are liable to the Company

pursuant to section 10(b) of the Exchange Act and SEC Rule 10b-5.

        215.      Plaintiff brings this claim within two years of his discovery of the facts constituting

the violation and within five years of the violation.

                                               COUNT       II
     Against the Individual Defendants for Breach of Duty Owed to Farmland Partners

        216. Plaintiff incorporates by         reference and realleges each and every allegation

contained above, as though fully set forth herein.

        217.      The Individual Defendants, by reason of their positions in the Company, owed and

owe Farmland Partners certain obligations and duties respective to their positions as officers and

directors of the Company. By reason of their fiduciary relationships, the Officer Defendants were

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and are required to exercise reasonable care, and owed and owe Farmland Partners the highest

obligation of good faith, fair dealing, loyalty, and candid disclosure. The Director Defendants,          as


directors of the Company, are and were required to act in good faith, in a manner the director

reasonably believes to be in the best interests of the Company, and with the care that an ordinarily

prudent person in a like position would use under similar circumstances.

          2I8.      The Individual Defendants and each of them, violated their duty to act in good faith.

More specifically, the Individual Defendants violated their duty of good faith by creating a culture

of lawlessness within Farmland Partners, andlor consciously failing to prevent the Company from

engaging in the unlawful acts complained of herein.

          2I9.      The Officer Defendants either knew, were reckless, or were grossly negligent in

disregarding the illegal activity         of   such substantial magnitude and duration. The Officer

Defendants either knew, were reckless, or were grossly negligent in not knowing that: (i) the

Individual Defendants were using the FPI Loan Program to issue loans to related parties, not "third-

party farmers"; (ii) these related-party loans were issued without properly vetting the borrower's

ability to pay, were not negotiated at arm's-length, reflected more lenient underwriting standards

than those with third parties, and presented increased risks beyond those traditionally associated

with being      a lender;   (iii) the Company failed to disclose the loans to Niebur   and Hough as related-

party transactions, as was required; (iv) Farmland Partners was inflating its revenue and earnings

by issuing these loans to related-party tenants who would then circle the money back to the

Company in the form of rent payment; and (v) as a result of the foregoing, Farmland Partners'

statements concerning the Company's financial results and future prospects, compliance with

GAAP, and effectiveness of its internal controls were improper. Accordingly, the Officer

Defendants breached their duties of care, loyalty, and candid disclosure to the Company.



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         220.         The Director Defendants, as directors of the Company, owed Farmland Partners

duties to act in good faith, in a manner the director reasonably believes to be in the best interests

of the Company, and with the care that an ordinarily prudent person in a like position would use

under similar circumstances. These defendants failed to act in good faith or exercise sound

business judgment by causing or permitting the improper activities detailed herein. The Director

Defendants knew or were reckless in not knowing that: (i) the Individual Defendants were using

the FPI Loan Program to issue loans to related parties, not "third-party farmers"; (ii) these related-

party loans were issued without properly vetting the borrower's ability to pay, were not negotiated

at arm's-length, reflected more lenient underwriting standards than those with third parties, and

presented increased risks beyond those traditionally associated with being a lender;          (iii)   the

Company failed to disclose the loans to Niebur and Hough as related-party transactions, as was

required; (iv) Farmland Partners was inflating its revenue and earnings by issuing these loans to

related-party tenants who would then circle the money back to the Company in the form of rent

payment; and (v) as a result of the foregoing, Farmland Partners' statements concerning the

Company's financial results and future prospects, compliance with GAAP, and effectiveness of its

internal controls were improper. Accordingly, these defendants failed to exercise the standard        of

care that they owed to the Company.

             221.     The Audit Committee Defendants failed to act in good faith or exercise sound

business judgment         by approving the statements described herein which were made during their

tenure on the Audit Committee, which they knew or were reckless in not knowing contained

improper statements and omissions. The Audit Committee Defendants completely and utterly

failed in their duty of oversight, and failed in their duty to appropriately review financial results,

as required        by the Audit Committee Charter in effect at the time.



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         222.      Each   of the Individual    Defendants also failed   to act in good faith and with

appropriate care by causing or allowing Farmland Partners to repurchase its stock on the open

market at prices the Individual Defendants knew were artificially inflated by their misleading

statements and omissions.

         223.      As a direct and proximate result of the Individual Defendants' breaches of duties

and obligations, Farmland Partners has sustained significant damages, as alleged herein. As a

result of the misconduct alleged herein, these defendants are liable to the Company.

         224.      Plaintiff   on behalf of Farmland Partners, has no adequate remedy at law.

                                                 COUNT       III
                Against the Individual Defendants for Waste of Corporate Assets

         225. Plaintiff        incorporates   by reference and realleges each and every allegation

contained above, as though fully set forth herein.

         226.      As a result of the misconduct described above, the Individual Defendants have

wasted corporate assets by issuing loans to related parties that were unfavorable and ultimately

detrimental to the Company.

         227. As an additional result of the misconduct             described herein, the Individual

Defendants have wasted corporate assets by forcing the Company to expend valuable resources in

defending itself in the Securities Class Action that they brought on with their improper statements.

         228.      In addition, the Individual Defendants have caused Farmland Partners to waste its

assets   by causing or allowing the Company to repurchase its stock at significantly artificially

inflated prices.

         229.      Finally, as a result of the decision to allow the Company to operate         in an
environment devoid         of   adequate internal controls, the Individual Defendants have caused

Farmland Partners to waste its assets by paying improper compensation and bonuses to certain       of

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its executive officers and directors that breached their fiduciary duty or failed to act with the

required standard of care.

         230.     As   a   result of the waste of corporate assets, the Individual Defendants are liable to

the Company.

         231. Plaintiff on behalf of Farmland          Partners, has no adequate remedy at law.

                                                  COUNT IV

                       Against the Individual Defendants for Unjust Enrichment

         232. Plaintiff incorporates by reference and realleges each and every allegation
contained above, as though fully set forth herein.

          233. By their wrongful acts and omissions, the Individual Defendants were unjustly
enriched at the expense of and to the detriment of Farmland Partners. The Individual Defendants

were unjustly enriched as a result of the compensation and director remuneration they received

while breaching the duties they owed to Farmland Partners.

          234.    Plaintiff,   as a stockholder and representative   of Farmland Partners, seeks restitution

from these defendants, and each of them, and seeks an order of this Court disgorging all profits,

benefits, and other compensation obtained by these defendants, and each of them, from their

wrongful conduct and breaches of duties.

          235.    Plaintiff, on behalf of Farmland Partners, has no adequate remedy at law.

                                           PRAYER FOR RELIEF

         WHEREFORE, Plaintifi on behalf of Farmland Partners, demands judgment as follows:

         A.       Against all of the defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the defendants' violation                of securities law,

breaches of duties, waste of corporate assets, and unjust enrichment;




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          B.       Directing Farmland Partners to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable laws and to protect

Farmland Partners and its stockholders from a repeat of the damaging events described herein,

including, but not limited to, putting forward for stockholder vote, resolutions for amendments to

the Company's Bylaws or Articles of Incorporation and taking such other action as may be

necessary to place before stockholders for a vote of the following corporate governance policies:

                   1.     a proposal to     strengthen the Company's internal controls and Board

oversi ght concerning related-party trans actions   ;


                   2.     a proposal   to strengthen the Company's controls over financial reporting;

                   3.     a proposal to strengthen Farmland Partners' oversight of its disclosure

procedures;

                   4.     a proposal to strengthen the Board's oversight with respect to stock

repurchases;

                   5.     a proposal   to strengthen the Board's supervision of operations and develop

and implement procedures for greater stockholder input into the policies and guidelines of the

Board; and

                   6.     a   provision to permit the stockholders of Farmland Partners to nominate at

least three candidates for election to the Board;

          C.       Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

state statutory provisions sued hereunder, including attaching, impounding, imposing                    a


constructive trust on, or otherwise restricting the proceeds of defendants' trading activities or their

other assets so as to assure that Plaintiff on behalf of Farmland Partners has an effective remedy;




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         D.          Awarding to Farmland Partners restitution from defendants, and each of them, and

ordering disgorgement of all profits, benefits, and other compensation obtained by the defendants;

         E.          Awarding   to Plaintiff the costs and disbursements of the action, including
reasonable attorneys'fees, accountants' and experts'fees, costs, and expenses; and

         F.          Granting such other and further relief as the Court deems just and proper.

                                                 JURY DEMAND

         Plaintiff demands      a   trial by jury.

Dated: October        1,2019                         TYDINGS & ROSENBERG LLP


                                                      ,T/"r
                                                     John B. Isbister (Federal Bar No. 00639)
                                                     Email : jisbister@tlzdin gslaw. com
                                                     Daniel S. Katz (Federal Bar No. 01148)
                                                     Email : dkatz@tydin gslaw. com
                                                     One East Pratt Street, Suite 901
                                                     Baltimore, MD 21202
                                                     Telephone: (al 0) 7 52-97 00
                                                     Facsimile: (410) 727 -5460

                                                     Counselfor Plaintiff

ROBBINS ARROYO LLP

Brian J. Robbins
Email : brobbins@robbinsarroyo. com
Craig W. Smith
Email: csmith@robbinsarrolio.com
Steven R. Wedeking
Email : swedeking@robbinsarroyo. com
5040 Shoreham Place
San Diego, CA92122
Telephone: (619) 525-3990
Facsimile: (61 9) 525-3991




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PROMISLOFF LAW, P.C.
David M. Promisloff
Email : david@prolawp.a. eom
5 Great ValleyParkway, Suite 210
Malvern, PA 19355
Telephone: (215) 259-5156
Facsimile: Q15) 600-2642

Of Counselfor Plaintiff




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                                        VERIFICATION



       I, Shawn Luger, hereby declare as follows:

       I   am the plaintiff in this action.   I   have read the Verified Stockholder Derivative

Complaint. Based upon discussions with and reliance upon my counsel, and as to those facts of

which I have personal knowledge, the Complaint is true and correct to the best of my knowledge,

information, and belief.

       I declare under penalty ofperjury that the foregorng is true and correct.

       Signed and Accepted:
                                                    Dated:




                                                                   SHAWN LUGER
